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 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10

11
     GEMNAIKA FLORES, individually and on           Case No.
12   behalf of all others similarly situated,

13                         Plaintiff,               CLASS ACTION COMPLAINT

14          v.                                      JURY TRIAL DEMANDED
15   PHILIPPINE AIRLINES and PAL HOLDINGS,
     INC.
16
                           Defendants.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
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 1          Plaintiff Gemnaika Flores (“Plaintiff”) brings this action on behalf of herself and all others

 2   similarly situated against Philippine Airlines, Inc. and PAL Holdings, Inc. (collectively,

 3   “Defendants” or “PAL”). The allegations here are based on personal knowledge as to Plaintiff’s

 4   own conduct and are made on information and belief as to all other matters based on investigation

 5   by counsel.

 6                                      NATURE OF THE ACTION

 7          1.      This is a class action lawsuit regarding Defendant Philippine Airlines’ failure to

 8   provide full refunds to customers whose flights were cancelled or were subject to a significant

 9   schedule change and not refunded as a result of COVID-19 (“coronavirus”).

10          2.      Given the outbreak of the coronavirus, PAL has cancelled a vast percentage of its

11   international and U.S. flights. However, PAL has refused to issue refunds for flights that it

12   cancelled or significantly altered. PAL’s inexplicable and continuous withholding of passengers’

13   refunds stands in direct contravention of its Contract of Carriage as well as other representations

14   made to passengers, which are set out more fully below.

15          3.      PAL’s treatment of Plaintiff is no exception. On December 17, 2019, Plaintiff

16   purchased two roundtrip tickets departing on April 22, 2020, from San Francisco to Manila, the

17   Philippines for $1,356.08. However, on April 5, 2020, PAL cancelled Plaintiff’s flights. Plaintiff

18   immediately attempted to secure a voucher. But after realizing that she would be unable to fly

19   during the COVID-19 pandemic, Plaintiff requested that PAL issue her a refund. On July 30,

20   2020, Plaintiff received a confirmation email from PAL representative, Cecilia A. Murillo, that her

21   refund request had been filed and that she should “allow 3-6 months processing.”

22          4.      After nearly six months, Plaintiff emailed Ms. Murillo on December 10, 2020 to

23   request the status of her refund. Ms. Murillo responded on December 10, 2020 stating that “[a]ll

24   refunds are being handled by our head office” and that Plaintiff should allow for additional

25   processing.

26          5.      On December 29, 2020, Plaintiff sent an additional email to Ms. Murillo requesting

27   an update. Ms. Murillo responded on December 30, 2021, stating that she “sent follow up today”

28   and that Plaintiff should continue to be patient.


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 1          6.      On January 18, 2021, Plaintiff sent another email requesting the status of her refund.

 2   Ms. Murillo responded, simply stating that she would “follow up today.” But Plaintiff did not

 3   receive a follow up. Instead, on March 3, 2021, Plaintiff emailed asking for another update. On

 4   March 9, 2021, Ms. Murillo responded that “all refunds are being handled by our head office.”

 5   Plaintiff called on March 14, 2021, March 16, 2021, twice on March 22, 2021, on April 6, 2021,

 6   and twice in June 2021, and twice in July 2021. Each time Plaintiff was placed on hold, forcing

 7   Plaintiff to wait approximately one hour before her concerns were considered. However, none of

 8   these efforts were successful.

 9          7.       All told, Plaintiff has waited for her refund for more than 12 months. She sent a

10   total of 8 emails and called 10 times. PAL’s representations to Plaintiff never materialized.

11   Instead, PAL led Plaintiff, like others similar situated, through a test of exhaustion. As this

12   Complaint will demonstrate, PAL breached both its Contract of Carriage as well as subsequent

13   representations to its consumers who desperately sought a refund amidst a global pandemic and

14   economic recession. In doing so, PAL inexplicably refused to issue refunds for Plaintiff and Class

15   Members.

16                                                PARTIES

17          8.      Plaintiff Gemnaika Flores is, and at all times relevant to this action has been, a

18   citizen of California and a resident of Union City, California.

19          9.      Defendant Philippine Airlines, Inc. is a business organized under the laws of the

20   Philippines and maintains its Executive Office at 8/F PNB Financial Center, Macapagal Avenue, in

21   Pasay City, National Capital Region 1307, the Philippines. Defendant also maintains its principal

22   place of business in the U.S. at 1350 Bayshore Highway, Suite 150, Burlingame, California 94010.

23          10.     Defendant PAL Holdings, Inc. is a holding company and parent of Philippine

24   Airlines, Inc. PAL Holdings is organized under the laws of the Philippines and maintains its

25   Executive Office at 7th Floor Allied Bank Center, 6754 Ayala Avenue, Makati 1200, the

26   Philippines. PAL Holdings is also organized under the laws of the State of Delaware as File

27   Number 3329654.       PAL Holdings maintains a Registered Agent, called Delaware Corporate

28   Agents, Inc., located at 4405 Tennyson Road, Wilmington, Delaware, 19802.

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 1                                     JURISDICTION AND VENUE

 2          11.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

 3   1332(d) because there are more than 100 class members and the aggregate amount in controversy

 4   exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least one Class member is a

 5   citizen of a state different from Defendants.

 6          12.     This Court has personal jurisdiction over Defendants because Defendants

 7   purposefully availed themselves of this forum by conducting substantial business within California

 8   such that Defendants have significant, continuous, and pervasive contacts with the State of

 9   California. Defendant Philippine Airlines also operates multiple offices throughout California and

10   is registered with the California Secretary of State as maintaining an office located at 1350

11   Bayshore Highway, Suite 150, Burlingame, California 94010.

12          13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants do

13   substantial business in this District and a substantial part of the events giving rise to Plaintiff’s

14   claims took place within this District, as Plaintiff Flores purchased her ticket in this District and

15   resides in this District. And as noted above, Defendant Philippine Airlines is registered with the

16   State of California as operating an office in Burlingame, California.

17                                       FACTUAL ALLEGATIONS

18                                       PAL’s Contract of Carriage

19          14.     PAL’s refusal to refund customers violates its Contract of Carriage (“COC”),

20   attached as Exhibit A.1 Specifically, this dispute is governed by Article 10 of PAL’s COC.

21   Article 10, Section 1 provides that the “[r]efund of a Ticket or any of its unused portion . . . shall be

22   subject to these Conditions of Carriage.”

23          15.     Article 10, Section 2, entitled “When To File For Refund And To Whom Refund

24   Will Be Made,” sets out many of the terms relevant to this action. The relevant portion provides

25   that “[r]efund of a Ticket or any of its unused portion, including taxes, fees, and or any other

26   amount collected on behalf of any third party, shall be applied with PAL within the period of the

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     1
      The Contract of Carriage attached to this complaint was in place at the time Plaintiff purchased
28   her tickets.
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 1   validity of the Ticket and thirty (30) days thereafter.” Further, “[e]xcept as provided in this Article,

 2   refund shall be made either to the Passenger, or to the person who has paid for the Ticket upon

 3   presentation of satisfactory proof of entitlement to the refund.”

 4          16.     Section 2 further provides that “[a] refund made to anyone holding himself or

 5   herself out as a person to whom refund may be made in terms of (a) above shall be deemed a

 6   proper refund and shall discharge PAL from liability and any further claim for refund.”

 7   Additionally, “[i]f the credit card is not under Passenger’s account name, Passenger warrants that

 8   he/she and the credit card holder both agreed that: 1) either the Passenger or credit card holder may

 9   apply for online refund; and 2) the refund will automatically be charged back to the credit card

10   account originally used.”

11          17.     These terms are complemented by Article 10, Section 3 entitled “Involuntary

12   Refund” which states that “[i]f PAL cancels a flight, or fails to operate a flight reasonably

13   according to schedule, or fails to stop at a point to which you were destined or ticketed to Stopover,

14   or is unable to provide previously confirmed space, the amount of the refund shall be subject to

15   these Conditions of Carriage” as well as “PAL’s Tariffs, and applicable laws, rules, and

16   government regulations.”

17          18.     Article 10, Section 4 entitled “Voluntary Refunds” further provides that “[i]f you

18   are entitled to a refund of your Ticket or any of its unused portion, including taxes, fees, or any

19   other amount collected for or on behalf of any third party, for reasons other than those set out in

20   Section 3 of this Article, the amount of the refund shall be in accordance with PAL’s Tariffs.”

21          19.     As the terms of the COC make clear, refunds are to be issued to consumers for both

22   voluntary and involuntary cancellations.

23                                   DOT Guidance Supplies Reasonable Terms

24          20.     The COC does not reference the length of time in which PAL shall issue refunds to

25   consumers. But as described below, reasonable terms should be supplied in accordance with well-

26   established principles governing contract interpretation. In supplying reasonable terms, one area to

27   consider is the U.S. Department of Transportation’s (“DOT”) Enforcement Notice on related

28   matters.

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 1          21.     The DOT has declared that “in the context of the 2019 Novel Coronavirus (COVID-

 2   19) public health emergency, that U.S. and foreign airlines remain obligated to provide a prompt

 3   refund to passengers for flights to, within, or from the United States when the carrier cancels the

 4   passenger’s scheduled flight or makes a significant schedule change and the passenger chooses not

 5   to accept the alternative offered by the carrier.”2

 6          22.     The DOT further counsels that “[t]he obligation of airlines to provide refunds,

 7   including the ticket price and any optional fee charged for services a passenger is unable to use,

 8   does not cease when the flight disruptions are outside of the carrier’s control (e.g., a result of

 9   government restrictions).”

10          23.     On May 12, 2020, the DOT issued a Second Enforcement Notice, stating in

11   pertinent part that “airlines have an obligation to provide a refund to a ticketed passenger when the

12   carrier cancels or significantly changes the passenger’s flight, and the passenger chooses not to

13   accept an alternative offered by the carrier.”3 The DOT explained that “[f]or airlines, ‘prompt’ is

14   defined as being within 7 business days if a passenger paid by credit card, and within 20 days if a

15   passenger paid by cash or check.”4

16          24.     The DOT Enforcement Notices are not merely guidance documents but are based on

17   provision of the Code of Federal Regulations, which are cited explicitly in the DOT Second

18   Enforcement Notice.

19          25.     For the sake of clarity, it is important to reiterate that the DOT’s guidance is offered

20   here for the sole purpose of considering omitted terms such as the length of time PAL consumers

21   must wait for a refund. Courts have made clear that plaintiffs can sustain causes of action for

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     2
        DEP’T OF TRANSP., U.S. DEPARTMENT OF TRANSPORTATION ISSUES ENFORCEMENT NOTICE
24   CLARIFYING AIR CARRIER REFUND REQUIREMENTS, GIVEN THE IMPACT OF COVID-19 (Apr. 3,
     2020),           https://www/transportation.gov/briefing-room/us-department-transporation-issues-
25   enforcement-notice-clarifying-air-carrier-refund (hereinafter “DOT Notice”) (emphasis added).
     3
       DEP’T OF TRANSP., FREQUENTLY ASKED QUESTIONS REGARDING AIRLINE TICKET REFUNDS GIVEN
26   THE UNPRECEDENTED IMPACT OF THE COVID-19 PUBLIC HEALTH EMERGENCY ON AIR TRAVEL 1
     (May       12,     2020),     https://www.transportation.gov/sites/dot.gov/files/2020-05/Refunds-
27   %20Second%20Enforcement%20Notice%20FINAL%20%28May%2012%202020%29.pdf
     (hereinafter “DOT SECOND NOTICE”).
28   4
       Id. (emphasis added).
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 1   breach of contract in the absence of the DOT’s guidance.5 As the court recently noted in Herrera

 2   v. Cathay Pac. Airways Ltd., “implicit in the Supreme Court’s opinion in Wolens[6] is that courts

 3   would remain free to use general principles of contract law to interpret parties’ agreements without

 4   running afoul of the [Airline Deregulation Act].” No. 20-CV-03019-JCS, 2021 WL 673448 (N.D.

 5   Cal. Feb. 21, 2021). In Herrera, the court also cited Cox v. Spirit Airlines, Inc., where it was

 6   determined that “[u]nder Wolens, routine contract claims may proceed, which necessarily required

 7   employing tools of contractual interpretation.” Id. at 10 (citing 786 F. App’x at 285). The DOT’s

 8   guidance is supplied for this purpose.

 9                                     PAL’s Representations To Consumers

10          26.     Another area to consider for supplying reasonable terms is PAL’s various

11   representations to its consumers.        PAL’s refusal to issue refunds runs contrary to several

12   representations made to passengers in connection with coronavirus-related cancellations.

13          27.     A consumer visiting PAL’s website at the height of the pandemic would have

14   encountered multiple representations informing them that “passengers whose flights are affected by

15   COVID-19 cancellations . . . may avail of the following options even after the enhanced

16   community quarantine period or after your flight schedule:”

17          1. Rebook or reroute to a later date:
18                a. Unlimited (no rebooking fee)
                  b. For first rebooking: No fare difference on the same cabin class. Travel date must
19                   be on or before November 30, 2020 or ticket validity, whichever comes first
                     (with blackout dates for United States and Canada).
20                c. For rebookings: Ticket must be on the original booking class and
                     travel date must be within original ticket validity. Fare difference, taxes, and no
21                   show fees may be collected.
22                d. For rerouting, fare difference and taxes may also be collected.

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     5
       See Bugarin v. All Nippon Airways Co., No. 20-CV-03341-BLF, 2021 WL 175940, at *9 (N.D.
24   Cal. Jan. 19, 2021) (“The Contract Claim is Not Preempted”); Herrera v. Cathay Pac. Airways
     Ltd., No. 20-CV-03019-JCS, 2021 WL 673448 (N.D. Cal. Feb. 21, 2021) (“Implicit in the Supreme
25   Court’s opinion in Wolens is that courts would remain free to use general principles of contract law
     to interpret parties’ agreements without running afoul of the ADA.”); Ide v. Brit. Airways PLC,
26   No. 20-CV-3542 (JMF), 2021 WL 1164307, at *6 (S.D.N.Y. Mar. 26, 2021) (“In short, applying
     well-established principles of contract law, the Court concludes that the . . . Plaintiffs bring a
27   plausible breach-of-contract claim based on British Airway’s failure to provide them with
     refunds.”).
28   6
       Am. Airlines, Inc. v. Wolens, 513 U.S. 219, 232, 115 S. Ct. 817, 825, 130 L. Ed. 2d 715 (1995).
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      6
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 1           2. Convert the unused value of their ticket to a voucher for future use. For involuntary
                changes, the Travel Voucher is equivalent to the unused value of your ticket plus an
 2              additional 10% of the unused base fare. This benefit is available only among passengers
                who have not made previous changes to their booking. The additional 10% value is
 3
                non-refundable. Click here to know more about Travel Voucher.
 4
             3. Refund their tickets without penalties. Due to the high volume of requests and
 5              limitations from the Enhanced Community Quarantine in the Philippines, there may be
                some delays in processing of refunds. For tickets purchased using credit card, Alipay,
 6              Gcash, Paypal, and Wechat Pay, the amount will be credited back to the account used
 7              at around 90 banking days (or an average of 2-3 billing cycles) from the date of
                processing.
 8   (emphasis added).
 9           28.    Consumers also would have seen PAL representations informing them that they
10   have “[n]o need to worry” and that they can secure their refunds from “the comfort and safety of
11   [their] own home.” One such representations is as follows:
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       7
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 1           29.   In accordance with PAL’s representation, a consumer who wished to submit their

 2   rebooking or to request a travel voucher or refund would scan the QR code or visit the hyperlink as

 3   set out by PAL. The consumer would then proceed to the following page:

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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    8
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 1           30.   As set out in PAL’s myPAL Request Hub information sheet, consumers who

 2   desired a refund could complete their request following “3 easy steps: fill up the form[,] click

 3   SUBMIT[,] and receive a confirmation via email.”

 4           31.   The form referred to above is as follows:

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 1           32.    Once the consumer completed this form, they would then proceed to the following

 2   page setting out their options:

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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                10
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 1           33.    Under the option for refunds, PAL represents that “processing of refunds may take 3

 2   to 4 months from lifting of enhanced community quarantine.” This is distinct from PAL’s previous

 3   representation as set out above that “the amount will be credited back to the account used at around

 4   90 banking days (or an average of 2-3 billing cycles) from the date of processing.”

 5           34.    A consumer who selected the refund option would then proceed to the following

 6   page:

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 1          35.      PAL again represents that “the processing of refunds through myPAL Request Hub

 2   will take: 3 months or 3 billing cycles for credit card, depending on your bank’s turnaround times.”

 3   PAL also informs consumers that their refund may take “3 to 5 months for cash refunds.”

 4          36.     Once consumers completed their refund request, PAL then sent them an email

 5   substantially similar to the following:

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24          37.     At this point, PAL represents for the first time that consumers should allow a

25   minimum of five months from the date the refund was processed for the refund to be credited back

26   to the account used.

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 1          38.     However, as Plaintiff’s experience and the consumer complaints below demonstrate,

 2   PAL has not honored the terms of the COC or any of its subsequent representations to consumers.

 3   In many cases, PAL consumers have waited for a year or more in securing their refunds.

 4                 Consumer Complaints Regarding PAL’s Refusal To Honor Its Refund Policy

 5          39.     Numerous consumer reports and complaints demonstrate that any condition

 6   precedent for obtaining a refund has been excused, and that PAL has not honored its refund policy.

 7   On March 17, 2020, one consumer, for example, submitted a report to the Better Business Bureau

 8   (“BBB”) concerning PAL’s lack of responsiveness. The consumer stated that “Philippine Airlines

 9   USA customer service line . . . is non[-]responsive amid [C]void[-]19.” The consumer reported

10   that “when I try calling Philippine Airlines customer service . . . the whole day, night of [March 12,

11   2020] and morning of [March 13, 2020], and many times the calls disconnect or [are] busy when

12   you call.” The consumer stated that “if you get connected you are placed on hold for hours with no

13   answer or assistance.” The consumer even tried an alternative method of reaching the Airline: “At

14   one point, I tr[ied] the other option called Mabuhay Miles on the same customer service [number

15   and] a customer service person answer[s] right away[.] [H]owever, they won’t help . . . they will

16   transfer you to the booking line option that place[s] you on hold for hours with no response.” PAL

17   was informed of this complaint and although PAL responded to the complaints directly preceding

18   and succeeding this complaint, PAL never responded to this consumer’s complaint.

19          40.     Another consumer reported to the BBB on May 20, 2020 that the Philippine Airlines

20   “just sent me an email informing me that the flight was cancelled. I tried to rebook to the next

21   available flight . . . but was asked to pay for a business class ticket, which according to them was

22   the last available seat.” The consumer stated that “I purchased the ticket just to be able to fly back

23   home because my husband was rushed to the hospital for congestive heart failure.” The consumer

24   reported that they had been unable to secure a refund. PLA was informed of this complaint and

25   responded on July 27, 2020.

26          41.     Another consumer reported to the BBB on May 21, 2021 that Philippine Airlines

27   “says they refunded our money in January. We never got the money. The bank never got the

28   money. [Philippine Airlines] never offers evidence of refund.” The consumer indicated that they

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 1   contacted the Airline on multiple occasions but that instead of issuing a refund the Airline issued “a

 2   litany of hollow apologies while they continue[d] to keep my money.” PAL was informed of this

 3   complaint and although PAL responded to the complaints directly preceding and succeeding this

 4   complaint, PAL never responded to this consumer’s complaint.

 5          42.     Another consumer reported to the BBB on August 6, 2020 that “my wife and I

 6   purchased airfare and hotel with PAL” but that “PAL cancelled our trip and never refunded the

 7   money.” The consumer stated that “we feel that we have given [PAL] ample time to refund our

 8   money and to this day we have not received any wire transfer, ACH, check or any other forms of

 9   reimbursement in any of our accounts.” The consumer then proceeded to set out the relevant

10   timeline in support of these assertions. The consumer stated that on “March 2020, [he and his

11   wife’s] flights were cancelled;” that on “March 28, 2020 [he received an] email refund

12   acknowledgement sent by PAL;” that on “May 9, 2020 [he] requested [an] update to refund, no

13   response;” that on “May 19, 2020 [he] requested [a] status [update];” that on “May 20, 2020 [he]

14   filed [a] claim with Chase;” that on “May 21[, 2020 the Airline] responded with still no direct

15   answer as to where the refund was;” that on “July 10, 2020, Chase denied claim” because the

16   Airline “responded and said they issued a refund;” and that on “July 11, 2020 [he] still ha[d] not

17   received any refund.” The consumer concluded that “it is very frustrating based off the first refund

18   email that the refund would be received after 30 days, then to call and be told it will take 2-3

19   months and now they are saying 5-7 months.” PAL was informed of this complaint and responded

20   on August 9, 2020.

21          43.     Another consumer reported to the BBB on August 20, 2020 that “[m]y flight was

22   cancelled by the airline and I was told that I could reschedule or request a refund.” The consumer

23   wrote that they “chose to get a refund [on] May 11, 2020.” The consumer reported that “I was told

24   at that time that it would take 4-6 weeks for my refund. It has now been 3 months since my first

25   attempt and I still have not received a refund.” The consumer further noted that “I called today . . .

26   and spoke with a representative . . . who now tells me it will take 5 months from June 12, 2020 to

27   get my refund.” The consumer concluded that “this is not fair. I am being charged interest fees

28   from my credit card everyday because they have not refunded my money back to the card like they

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 1   say they were going to do.” PAL was informed of this complaint and responded on August 23,

 2   2020.

 3           44.    Another consumer reported to the BBB on September 2, 2020 that PAL “has failed

 4   to refund my flight ticket within a reasonable time frame despite multiple follow-ups and cancelled

 5   flight by them.” The consumer stated that “I have been trying to receive a refund for two flight

 6   booking . . . I made directly through Philippine Airlines since last March.” The consumer wrote

 7   that “[w]hen all were cancelled by them due to COVID, I promptly followed their instructions in

 8   late March 2020, patiently, and consistently followed-up to ensure I receive my refund.” However,

 9   “after two months of no response, I received a notice that my refund was being processed on May

10   29, 2020 and that it would take 90-days from this date . . . . The 90-days have passed and I had to

11   follow-up multiple times against and get some response that it will not take 5 months.” The

12   consumer stated that “that is completely unacceptable and an unreasonable time to withhold a

13   refund especially during very difficult financial times.”

14           45.    Importantly, the consumer rhetorically asked, “how can I be confident that in 5

15   months they won’t just tack on another few months until I give up on getting my refund?”

16   Moreover, the consumer stated that “I am entitled to my money, as they did not provide the

17   services those flight tickets paid for. They are withholding funds that are not theirs to keep.” The

18   consumer concluded that “It is difficult for me to understand why it would take that long, when

19   another airline I booked with in March was able to refund my money in one month with no follow-

20   up required.” PAL was informed of this complaint and responded on September 16, 2020.

21           46.    Another consumer reported to the BBB on September 3, 2020 that “a refund was

22   requested for plane tickets I cancelled. Per the airline, refund was processed on [April 28, 2020].

23   As of today . . . no refund received.” The consumer stated that “I purchased 2 business class round

24   trip tickets . . . I requested tickets to be cancelled and refunded due to global pandemic.” The

25   consumer reported that “after multiple phone calls, Philippine Airlines finally confirmed

26   cancellation on [April 29, 2020] and that [a refund would be issued in] 2-3 billing cycles.” But the

27   “refund has not been received.” The consumer wrote that “after speaking to a customer service rep

28   at Philippine Airlines via phone today . . . they said refund should be expected in October or

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 1   November 2020.      This timeframe is unreasonable.      This is a significant amount of money.

 2   Philippine Airlines needs to return the money.”        PAL was informed of this complaint and

 3   responded on September 29, 2020.

 4          47.     Another consumer reported to the BBB on September 21, 2020 that a “refund . . .

 5   was promised on [March 1, 2020] to be processed within 30 business days. It has been over 6

 6   months now without a refund.” The consumer wrote that “I was told to allow 30 business days for

 7   [the refund] to process. I have emailed PAL multiple times respectfully inquiring about the status

 8   of the refund, and each time they say ‘please wait one more month.’ It has been over 6 months

 9   now and the refund still have not been received.” PAL was informed of this complaint and

10   although PAL responded to the consumer’s complaint immediately preceding and immediately

11   succeeding this complaint, PAL did not respond to this complaint.

12          48.     Another consumer wrote to the BBB on September 21, 2020 that “we cancelled our

13   flight to [the] Philippines due to [COVID-19]” and “we rescheduled [the flight] for June 2020.”

14   However, “the airline changed the travel date without notifying us.” Consequently, “customer

15   service gave us [the] option to hold or refund since the airline changed the flight we ha[d] a choice

16   to cancel our travel and get full refund or change the travel date with no penalty.” The consumer

17   stated that “we chose to get a refund on March 11, 2020 due to Covid 19.” But the consumer

18   concluded that the refund that PAL ultimately issued was only a partial refund. PAL was informed

19   of this complaint and responded on October 8, 2020.

20          49.     Another consumer wrote to the BB on September 23, 2020 that “[m]y flight was

21   cancelled due to COVID19. I requested a refund in April [and] it is now September and I have yet

22   to receive my refund.” The consumer wrote that “I purchased a roundtrip ticket for my son and I

23   on [March 3, 2020] scheduled to fly out in May to the Philippines.” But “the flight was cancelled

24   and rescheduled multiple times by Philippine Airlines due to COVID19.” The consumer stated

25   that “I decided to request . . . a refund and spoke with a customer service representative . . . I

26   received an email from Philippine Airlines dated [May 6, 2020] acknowledging the request for

27   refund for our tickets and that it is being processed.” The consumer that the “email stated that I

28   will receive my refund around 90 banking days or an average of 2-3 billing cycles from the date of

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 1   processing. On [August 4, 2020] I emailed PAL . . . to follow up on my refund. I received an Auto

 2   response letting me know that due to high volume of emails there is a delay in response.” The

 3   consumer noted, however, that “to this day I still have not received a response to my email. [I]n

 4   the beginning of September I called PAL customer service to follow up on my refund and was told

 5   that I have not reached my 90 days and to wait. I had the customer service rep[resentative] tell me

 6   when my 90 days waiting period would end and I was told [September 14, 2020].” The consumer

 7   stated that “I called PAL customer service again on [September 14, 2020] and was told that I now

 8   had to wait at least 5 billing cycles. I requested to speak to the Supervisor . . . [who] told me that

 9   he would send a request to expedite my refund and for me to wait 24-48 hours . . . I have waited 48

10   hours and still no refund.” PAL was informed of this complaint and responded on October 20,

11   2020.

12           50.    Another consumer reported to the BBB on September 23, 2020, asking “where is

13   our refund???” The consumer wrote that “we have been patiently waiting to get a full refund on

14   our tickets. We cancelled our flight due to the current pandemic rightfully so since Philippine

15   Airlines gave that option.” The consumer reported that PAL “said 2-3 billing cycles but it has been

16   way beyond that. We have already been in contact with their customer service by phone and email

17   to no avail. In fact one rep[resentative] would say it was processed on May 28[, 2020] while

18   another would say June[, 2020].” The consumer rhetorically asked “what is going on????!!!!!”

19   And the consumer concluded that “this is getting ridiculous!!!! We will exhaust all avenues to

20   expose these corrupt practices!!!!” PAL was informed of this complaint and responded on October

21   9, 2020.

22           51.    Another consumer reported to the BBB on October 5, 2020 that “I purchased tickets

23   for my family in March 2020 to go to the Philippines in April 2020. The airline cancelled our

24   flight due to COVID-19. I requested a refund and was told the refunds were done on April 16,

25   2020.” The consumer reported that “it has now been over 5 months and I have yet to receive a

26   refund to my credit card. I have been going back and forth . . . about the funds for months now. I

27   have called and emailed . . . a number of times and they have yet to even give me a refund status.”

28   The consumer noted that “I have asked for a confirmation that the refund has been done and have

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 1   received no replies. Please help.” PAL was informed of this complaint and responded on October

 2   6, 2020.

 3          52.     Another consumer wrote to the BBB on October 12, 2020 that “5 months after the

 4   airline cancelled our flight, they haven’t issue[d] us a refund. Flight scheduled for May 21[, 2020]

 5   to June 16[, 2021] . . . was cancelled by the airline and [PAL] has not refunded me.” The

 6   consumer then concluded "please refund my money.” PAL was informed of this complaint and

 7   responded on October 23, 2020.

 8          53.     Another consumer reported to the BBB on November 3, 2020 that “It [has] been 7

 9   months since [PAL] cancelled [our] flights . . . I decided to refund my ticket and 7 months after

10   they still have not returned my money.” The consumer wrote that “I am just [a] minimum wage

11   earner living paycheck to paycheck. Suffering from stress and depression because of what they

12   did.” PAL was informed of this complaint and responded on November 4, 2020.

13          54.     Another consumer reported to the BBB on November 6, 2020 that PAL “cancelled

14   [our] flight Aug[ust] 8. Called back [on] Oct[ober] 29[, 2020] . . . [the] agent assured it was

15   cancelled and I was to receive an email confirmation in 7-10 days and a refund in 5 months.”

16   However, the consumer wrote that “I called back October 29[, 2020] after months of nothing from

17   the company and they informed me they had not processed my refund and are now stating it will be

18   7-10 days from the day I receive[d] the email cancellation and 5 months from then to re[ceive] the

19   refund.” PAL was informed of this complaint and responded on November 10, 2020.

20          55.     Another consumer wrote to the BBB on November 23, 2020 that “I haven’t received

21   my refund from Philippine Airlines. I recently booked a flight [with the] Philippine Airlines. But

22   because of the pandemic, it had to be cancelled. The airline said that it may take 150 days at the

23   most from the refund initiation date (May 21, 2020).” The consumer, however, reported that “It is

24   more than 150 days now. I’m forwarding their repetitive reply [to] my email inquiries.” The

25   consumer then quoted PAL’s email: “‘Dear . . ., We sincerely apologize for the long processing

26   time that you experience. The refund process may take up to 5 months . . . from the time the

27   refund was initiated . . . Your bank will be notified once the amount has been transmitted.” PAL

28   was informed of this complaint and although PAL responded to the consumer’s complaint

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 1   immediately preceding and immediately succeeding this complaint, PAL did not respond to this

 2   complaint.

 3          56.     Another consumer reported to the BBB on December 3, 2020 that “[our] airline

 4   ticket was process[ed] 7 months ago until now still did not receive[] the refund.” The consumer

 5   stated that they “tr[ied] to email and call but [to] no avail, people are frustrated.” PAL was

 6   informed of this complaint and responded on December 13, 2020.

 7          57.     Another consumer wrote to the BBB on December 8, 2020 that “a flight refund was

 8   requested due to flight cancellation . . . . A refund was promised within 90 days. No refund

 9   received.” The consumer reported that they “promptly requested” a refund and was told “to expect

10   [the] refund within 2-3 billing cycles / 90 business days.” The consumer stated that on “August 24,

11   2020, [I] sent [an] email . . . with [the] refund reference number . . . informing them [that] 90

12   banking days have elapsed.” However, when PAL responded that the refund request “is being

13   processed and to expect an[] ADDITIONAL 90 banking days / 2-3 billing cycles before receiving

14   the refund.” The consumer stated that they sent an additional email on October 19, 2020 and again

15   on November 26, 2020 but “no refund received.” But instead of issuing the refund as promised,

16   PAL “state[d] they are still processing the request. Escalated request and spoke with . . . supervisor

17   . . . who states [the refund] is still being processed by the refunds department. I had requested to

18   speak with the refunds department however they state it is internal and they cannot transfer the

19   call.” The consumer concluded that PAL’s conduct “is illegal and unethical.” PAL was informed

20   of this complaint and responded on December 21, 2020.

21          58.     Another consumer reported to the BBB on December 17, 2020 that “I am a disabled

22   vet[eran] living on a fixed income. I purchased a business class ticket so that I could lay down

23   because of medical issues on such a long flight.” The consumer wrote that “I . . . have not received

24   my voucher refund as promised.” The consumer stated that the Philippine Airlines “changed the

25   day of our flight” and “I cancelled [my ticket] because the operator I spoke with said I could get a

26   voucher refund in 7-15 business days. I thought I could easily rebook another flight.” But this was

27   not the case. PAL was informed of this complaint and responded on December 29, 2020.

28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       19
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 1          59.     Another consumer wrote to the BBB on December 17, 2020 that “I have not

 2   received my refund yet from Philippine Airlines! My dad ha[d] a flight April 8-28[, 2020] to the

 3   Philippines and due to COVID-19 PAL cancelled his flight March 23[, 2020].” The consumer

 4   reported that “when PAL cancelled [in] March, I remember I waited in the line for 3 long hours

 5   just to let PAL know that I wanted a refund for that ticket. The agent who helped me, told me that

 6   they will be processed already. And it will take 3 billing cycles or 90 banking days to get the

 7   refund.” The consumer reported that they received an email from PAL on April 5, 2020 informing

 8   them that “if you convert your ticket to a Travel Voucher you will receive the full unused value of

 9   your ticket plus an additional 10% of the value.” The consumer wrote “I did not want that. I spoke

10   to them clearly that I was a refund! There was an option for me at the end of this email to

11   reconfirm I want my refund.” The consumer stated that on April 22, 2020 “I got another email

12   [from PAL] . . . asking the same thing! I [responded] that I have already confirmed that I wanted a

13   refund!” The next day the consumer received a reply email stating that “We will process the

14   refund and it will be credit back to your credit card.” The consumer stated that they follow up with

15   PAL on September 16, 2020 but received a response stating that “upon checking on the record, the

16   refund has been processed on our end last May 18, 2020” but that “there may be some delay in the

17   transmittal of the refunds. The amount will be credited back to the account used in the booking at

18   around 150 banking days.” The consumer wrote “Now they’re saying ‘150 banking days.’ What

19   type of business would make their consumer expect 90-banking days and would change to 150

20   banking days?”

21          60.     The consumer reported that they followed up with PAL on October 6, 2020 and

22   received a similar response asking for the consumer’s patience. The consumer then followed up on

23   October 27, 2020 and received another similar response requesting that the consumer remain

24   patient. The consumer reported that “[t]his is unacceptable. See how they handle the situation. Its

25   December now and I have not got a refund from them aside from their unstoppable waiting

26   cycles.” PAL was informed of this consumer’s complaint and responded on December 29, 2020.

27          61.     Another consumer reported to the BBB on January 25, 2021 that PAL “is not

28   refunding fare for flight cancelled by them. I have been waiting for refund for over 6 months.”

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 1   The consumer explained that “I purchased flight ticket for my daughter and me last year (2019) my

 2   flight was to be on June 2020 [but the] flight was cancelled due to COVID-19 by them [because]

 3   they could not fly on the dates purchased.” As a result, PAL “rescheduled the flight with dates

 4   provided by them. I was told by them if I did not fly on those dates I could either get vouchers or a

 5   refund. I chose a full refund, [and it] was indicated that [the] refund would take 90 days.” The

 6   consumer wrote that “after 90 days I still had not received a refund so I called to inquire about it

 7   and was told another 30 days would be needed for the refund. It has been the [same] story since

 8   then.” The consumer wrote that “Now every time I call to inquire they tell me their system is being

 9   updated and no one wants to talk with me. They place me on hold and eventually the call is

10   disconnected. Request to escalate to supervisor [and] they say [the] supervisor will call, so far no

11   call received.” The consumer concluded that “they are giving the impression that they will steal

12   my flight fare and my bank tried to contact them but they also do not respond to them.” PAL was

13   informed of this complaint and responded on January 27, noting that “we . . . [are unable] to verify

14   the passenger record . . . . We also hope to be given more time to file our response.”

15           62.     Another consumer reported to the BBB on February 23, 2021 that “my flights (wife

16   and I) were cancelled doe to the pandemic. I was advised multiple times I’d be refunded. No

17   refund still. I’ve been waiting for a refund . . . but there is still no refund. In fact, I’ve been told on

18   multiple occasions that a request would be expedited and nothing happens.” The consumer wrote

19   that PAL “ha[s] the audacity to tell me it takes 5 months to receive a refund. Hilariously, 10

20   months later and still there’s no refund for the cancelled flight. At this point, I don’t know what to

21   do. I’ve sent out several emails trying to get a refund with no luck.” The consumer stated that

22   “every email has the same generic templated attached stating they are going to expedite the request.

23   I haven’t seen any follow-up regarding any expedite submitted on my behalf.” The consumer also

24   wrote that “Even on today’s call, I advised I’d be willing to wait on the line for them to send me an

25   email confirmation of this supposed expedited request for a refund, and again nothing happens.”

26   The consumer concluded that “You can simply look at their Facebook page and see that there’s still

27   hundreds of people who haven’t received their refund back.” PAL was informed of this complaint

28   and responded on March 9, 2021.

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 1          63.     Another consumer wrote to the BBB on February 24, 2021 that “PAL sent me a

 2   confirmation . . . for my refund on [May 14, 2020] sa[ying] 30-60 days until refund” but “no refund

 3   yet.” The consumer explained that on April 25, 2020, “PAL sent me a[n] email saying my flight

 4   has been cancelled due to COVID-19, I then request a refund . . . [and] received a confirmation [of]

 5   cancellation . . . saying I would receive my refund around 90 banking says or 2-3 billing cycles.”

 6   The consumer stated that “on [October 14, 2020] I called them again and I wasn’t able to be

 7   connected to anyone who could help . . . I still have not received my refund.” PAL was informed

 8   of this complaint and responded on March 10, 2021.

 9          64.     Another consumer reported to the BBB on February 25, 2021 that they have been

10   “awaiting [a] refund for over 7 months now . . . Been calling company twice a month but I get the

11   same information. Have talked to multiple supervisors but still no resolution. An email was sent

12   to me from company [on] June 2, 2020 acknowledg[ing] [the] refund within 90 banking days or 2-

13   3 billing cycles.” The consumer stated that they sent another email to PAL “on January 14, 20201

14   which I haven’t heard back from them yet. I’ve mentioned that these are hard times [and] that I’m

15   in need of that refund because I’m still paying my credit card company just to avoid delinquent

16   notices . . . . I’m exhausted calling them [and] nothing is getting resolved.” PAL was informed of

17   this complaint and responded on March 11, 2021.

18          65.     Another consumer wrote to the BBB on March 1, 2021 that “[I have] been waiting

19   for my refund for almost 10 months now. They informed me to wait for 6 billing cycle[s] but

20   nothing happened after the 6 billing cycles.” The consumer described that “I purchased my ticket

21   last April 2020 but it got cancelled. I requested a refund after that but they informed me that they

22   didn’t receive any request.” The consumer concluded that “I want my long overdue refund.” PAL

23   was informed of this complaint and responded on March 16, 2021.

24          66.     Another consumer reported to the BBB on March 2, 2021 that “our family flight . . .

25   to the Philippines was cancelled . . . and I am still waiting for a refund. My 3 children and I were

26   scheduled to go” but “I received an email . . . cancelling our flight.” The consumer reported that “I

27   called several times and I was told to wait for 5 billing cycles. I also emailed.” The consumer

28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      22
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 1   concluded that “I would like a refund for my ticket . . . I have been patient . . . I would just like this

 2   matter resolved.”

 3          67.     Another consumer reported to the BBB on March 2, 2021 that “I had tickets for a

 4   flight during summer . . . which were cancelled due to COVID. They confirmed they would refund

 5   the money and they have not . . . Numerous communications indicated they would be issuing a

 6   refund. The date for the refund kept getting push[ed] out.” The consumer concluded that they

 7   would like their “full refund of [the] ticket amount.” PAL was informed of this complaint and

 8   responded on March 16, 2021.

 9          68.     Another consumer wrote to the BBB that “I purchase[d] a ticket from Philippine

10   Airlines and I requested a refund several times but have not received any refund.” The consumer

11   stated that “I have called the airlines numerous times since I purchased the [ticket] and it was to be

12   refunded” but “then the refund time frame was extended.” The consumer then wrote that “I called

13   again today to find out the status of my refund and I was informed they HAVE NO RECORD OF

14   MY RESERVATION.” (emphasis in original). PAL was informed of this and responded on March

15   15, 20212 nothing that “the complaint and link do not mention the ticket number.”

16          69.     Another consumer reported to the BBB on March 22, 2021 that “I still haven’t

17   received my refund. It’s officially been one entire year since I put in my initial request for a

18   refund. I still have not been refunded and have been given no information that confirms I’ll be

19   refunded.” PAL was informed of this consumer’s complaint, but PAL did not respond.

20          70.     Another consumer complained to the BBB that “I purchased a ticket from Philippine

21   Airlines last summer, 2020. The flight was for September and by early August they had cancelled

22   the flight. I properly filled out the refund request and submitted it August 11, 2020.” The

23   consumer wrote that “they assured me it would take five months or less to refund the money back

24   to my account. Still to this day, over seven months from my refund request, they still are not

25   giving me an answer as to when it will be.” The consumer wrote that “I’ve seen online forums

26   with people saying they’ve been waiting over 12 months!” The consumer concluded that “I

27   strongly believe they have no intention of paying anybody back and are going to declare

28   bankruptcy. What can I do? Right now $900 is a lot of money to me and they have been making

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           23
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 1   interest off it for over seven months now.” PAL was informed of this complaint and responded on

 2   April 5, 2021 and “request[ed] to be given further time to file our reply.”

 3          71.     Another consumer complaint to the BBB on March 31, 2021 that PAL “cancelled

 4   my flight due to COVID. I requested a refund and [PAL] stated it would take 5 months to process,

 5   after 5 months nothing was refunded. I called [PAL] and they told me to wait for 4 weeks, called

 6   again and told to wait another 4 weeks.” The consumer stated that “I called every week to follow

 7   up but just keep being told to wait another week. I emailed them multiple times as well. Flight

 8   was cancelled back in April 2020.” PAL was informed of this complaint and responded on April

 9   13, 2021.

10          72.     Another consumer reported to the BBB on April 2, 2021 that “my refund was

11   processed [the] first week of August 2020 and they asked for up to 5 months to get it back. But

12   unfortunately until now I never got anything. I’m constantly following up [with] their [customer

13   service] but all they can say is they can’t do anything because it’s already [in] their finance

14   department’s hand.” PAL was informed of this complaint and responded on April 4, 2021.

15          73.     Another consumer reported to the BBB on April 15, 2021 that “my flight [March,

16   2020] was cancelled due to the pandemic and PAL emailed me on [April 23, 2020] that they

17   processed my refund of $779.42 and to wait for 90 banking days.” The consumer wrote that “I was

18   patient and understanding because of the pandemic so I didn’t follow up and call again until

19   [November 24, 2020]. I was told 10 business days and still nothing.” The consumer reported that

20   “I called [December 16, 2020]. I was told they can’t do / see anything because it is now being

21   processed by the treasury department of PAL and its internal. On the same day, I sent them an

22   email, I was told that it’s being refunded and they sen[t] me a refund certificate. But there was

23   nothing again.” The consumer wrote that “I emailed [February 19, 2021] [and] they said they

24   submitted a request to be expedited and [to] expect [it] in 30 working days. And now . . . still

25   nothing.” The consumer concluded that “following up with calls and emails is getting stressful. I

26   believe I’ve given enough time, and was very patient. But almost a year is unacceptable and all I

27   keep getting are reasons and time frames.” PAL was informed of this consumer’s complaint and

28   responded on April 15, 2021.

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                  24
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 1                Additional Complaints Confirming Excuse Of Any Conditions Precedent

 2          74.     As the complaints set out above demonstrate, PAL systematically prevented

 3   consumers from performing any conditions precedent to receiving a full refund for their cost of

 4   their tickets. But these are not all of the known complaints. Websites have emerged providing

 5   consumers with an additional outlet to publicly register their complaints against PAL. One of these

 6   websites, Airlines Inform, has registered dozens of consumers further attesting to the problems

 7   described above. Many of these are included below.

 8          75.     On March 4, 2021 one consumer reported to Airlines Inform that “we bought 3

 9   tickets and 1 other plane ticket last year in February 2020 because my father passed away. I called

10   [PAL] 3 times on separate occasions and ended up on promises of a refund. It is almost a year

11   now.” The consumer reported that “I couldn’t take this anymore so I am finding a way to connect

12   with other passengers with the same plight as we are as to the next move we should be taking. I am

13   already hopeless with [PAL’s] promises.”

14          76.     On March 10, 2021 another consumer wrote “report this airline . . . for not

15   refunding the money that took months and years just to be refunded. The more complaints to the

16   U.S. . . . government about them will show that they are really not doing what they should be

17   doing.” The consumer wrote “those people who bought [PAL] ticket[s] probably are having heart

18   attack[s] because of worrying too much, health problems due to the long wait of the promised

19   refund which they have not idea at this time people need the money and [PAL is] holding back.”

20   The consumer further stated that “according to their policy refunds take 5 months. It shouldn’t

21   take years for them to return the money. They ignored their costumers who paid them . . . . They

22   don’t care. They have no concern [and are] unwilling to do it right away to return the money . . . .

23   Emails get ignored [and] phone calls [are] unhelpful.”

24          77.     On March 12, 2021, another consumer wrote “I cancelled my round-trip ticket to the

25   Philippines from LAX in August 2020. Now mid-March I still don’t have my refund. I wasn’t

26   concerned until I saw all these other posts. I’m feeling I have many more months to go. Shame on

27   you Philippine Airlines. Stop making interest off of our money!”

28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     25
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 1          78.     On March 12, 2021, another consumer wrote “if only I booked one . . . ticket for

 2   what $600-700.00 I can just forgive and save myself the heart attack, stress and anxiety of dealing

 3   – begging with them . . . . The thing is its around $5000.00.” The consumer stated that “that is

 4   hard to come around these days especially for people who got furloughed and lost their jobs . . . .

 5   They deserve[] to be sued.”

 6          79.     On March 16, 2021, another consumer wrote “Guys, has anyone received their

 7   refunds lately? Our flight was cancelled in June 2020 and we are still waiting.”

 8          80.     On March 18, 2021, another consumer wrote “my flight got cancelled in mid-May

 9   and refund acknowledgement on the day itself but the approval was processed only in early July. I

10   have been chasing them since then. Initially refund was by 3 billing cycles, then 5 months, then 5

11   months excluding weekends and holidays.” The consumer wrote that “it takes about 4 or 5 emails

12   to get an answer but the answers make one sick. Purchased the tickets [at the] end [of] Dec[ember]

13   2019, 8 months have passed since approval of refund in early July and 10 months since

14   acknowledgement.”

15          81.     On March 20, 2021 another consumer wrote “deal with your credit card [company]

16   if you are based in the U.S. I’ve been given a run around for 14 months whenever I call and email

17   so its useless to deal with PAL directly.”

18          82.     On March 26, 2021, another consumer wrote “PAL cancelled my flight last August

19   2020 and the refund would take 5 billing cycles or 5 months. Until now almost 9 months [and] still

20   they [have not] return[ed] my money and the worse is they don’t even update you regarding it.”

21   The consumer wrote “I called them many times and spoke to different people [and] they always

22   give me false hope that it will be in my account the next billing cycle.”

23          83.     On April 5, 2021, another consumer wrote “sounds like PAL is doing this to

24   countless customers . . . they cancelled our flights in March 2020. I have called PAL [and] I have

25   countless emails to PAL (save those) as well as calling the credit card company . . . all to no avail.”

26   The consumer further stated that “there is no way I am letting them keep our money . . . think about

27   how many customers they have done this to . . . all interest free . . . keep fighting for your money.”

28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        26
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 1          84.     On April 9, 2021, another consumer wrote “I bought tickets for my family (4

 2   people) in December 2019 for [a] getaway in [the] Philippines in July 2020. PAL cancelled the

 3   flight in June. I opted for a full refund at that time. I was told I would get it in 3 months. Then it

 4   was extended to give 5 months.” The consumer wrote that “I’ve called PAL and emailed them

 5   many times but I keep getting the runaround that the delay is due to the pandemic. I even sought

 6   the help of the Civil Aeronautics Board . . . nothing helped. In February of this year I was refunded

 7   for only 1 ticket even though I provided information for all 4 passengers.”           The consumer

 8   concluded that “now I’m worried it may take a very long time, or maybe never will I get the other

 9   party of that refund.”

10          85.     On April 13, 2021, another consumer wrote “PAL assigned a refund reference

11   number on June 11, 2020 after 2 weeks of my refund request. They said it will take 90 banking

12   days or an average of 2-3 billing cycles from the date of processing. I started sending them follow-

13   up emails after the 90-day period.” The consumer wrote that PAL “replied, saying this time it may

14   take 5 months . . . alright I waited 5 months, no refund . . . every month there[after], I kept

15   bombarding them with emails, same reply.” The consumer reported that “it’s now past 10 months

16   and nothing with over 15 follow-up emails.”

17          86.     On April 19, 2021, another consumer wrote “a refund for one ticket maybe they’ll

18   think that should shut you up for now. [But] I have 11 family members for domestic flights . . .

19   PAL still owes me over $3000.”

20          87.     On April 20, 2021, another consumer wrote “I was told 5 months or 5 billing cycles,

21   from last July to refund my ticket that was purchased in December 2019 – flight cancelled in late

22   March 2020 because of COVID. Today I called again and she said it was processed on January

23   21[, 2021] and within 5 billing cycles I will get a refund.”

24          88.     On April 25, 2021, another consumer wrote “I’m all for class action suit. Requested

25   refund in May 2020 for cancelled flight. They said wait 3 months, then nothing. They said wait up

26   to 5 months, nothing. In January, I called again . . . [they] promised 30 days. Never came.” The

27   consumer also noted that they “sent an email to refund office, complaint to customer service, and

28   complaint to Department of Transportation. DOT replied sadly saying they could not assist me

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 1   because flight were not in U.S., but forwarded my complaint to PAL customer service . . . I got a

 2   reply from PAL [which was] the same response from Wednesday.” The consumer concluded that

 3   PAL is “doing whatever is takes to not refund people what is due to them.”

 4             89.   PAL also knew or should have known about these and other complaints. Online

 5   reputation management (commonly called “ORM” for short), is now a standard business practice

 6   among most major companies and entails monitoring consumer forums, social media, and other

 7   sources on the internet where consumers can review or comment on particular companies.

 8   “Specifically, [online] reputation management involves the monitoring of the reputation of an

 9   individual or a brand on the internet, addressing content which is potentially damaging to it, and

10   using customer feedback to try to solve problems before the damage to the individual’s or brand’s

11   reputation.”7 Many companies offer ORM consulting services for businesses.

12             90.   Like most companies, PAL presumably cares about its reputation and regularly

13   monitors on-line consumer reviews because they provide valuable data regarding customer

14   satisfaction and marketing analytics. Reviews like those copies above would be particularly

15   attention-grabbing for PAL’s management because extreme reviews are sometimes the result of

16   extreme problems, and – just like any other company – PAL is presumably sensitive to the

17   reputational impact of negative online reviews. Hence, PAL’s management knew or should have

18   known about the above-referenced consumer complaints shortly after each complaint was posted

19   online.

20             91.   The fact that so many consumers made similar complaints about the same issue

21   indicates that the complaints were not isolated incidents. These complaints were similar enough to

22   put PAL’s management on notice that consumers had yet to receive their refunds despite waiting

23   for the amount of time PAL requested.

24                                        CLASS ALLEGATIONS

25             92.   Plaintiff seeks to represent a Class defined as all persons in the United States who

26   purchased tickets for travel on a Philippine Airlines flight scheduled to operate to, from, or within

27
     7
       WebSolutions Main, “Online Reputation,” Available at https://websolutions-maine.com/online-
28   reputation/ (last visited March 15, 2021).
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 1   the United States whose flights were cancelled or were subject to a significant schedule change and

 2   not refunded.

 3          93.      Subject to additional information obtained through further investigation and

 4   discovery, the foregoing definitions of the Class may be expanded or narrowed through amendment

 5   to the complaint or narrowed at class certification.

 6          94.      Specifically excluded from the Class are PAL, PAL’s officers, directors, agents,

 7   trustees, parents, children, corporations, trusts, representatives, employees, principals, servants,

 8   partners, joint ventures, or entities controlled by PAL, and their heirs successors, assigns, or other

 9   persons or entities related to or affiliated with PAL, the judge assigned to this action, and any

10   member of the judge’s immediate family.

11          95.      Numerosity. The members of the proposed Class are geographically dispersed

12   throughout the United States and are so numerous that individual joinder is impracticable. Upon

13   information and belief, Plaintiff reasonably estimates that there are hundreds of thousands of

14   individuals that are members of the proposed Class. Although the precise number of proposed

15   members is unknown to Plaintiff, the true number of members of the Class is known by PAL.

16   Members of the Class may be notified of the pendency of this action by mail and/or publication

17   through PAL’s distribution records.

18          96.      Typicality. The claims of the representative Plaintiff are typical of the claims of the

19   Class. The representative Plaintiff, like all members of the Classes, paid for a PAL flight that was

20   subjected to a significant schedule change and was not refunded for the cancelled flight or for any

21   consequential damages and cancelations caused by the original cancelled flight. The representative

22   Plaintiff, like all members of the Class, has been damaged by PAL’s misconduct in the very same

23   way as the members of the Class. Moreover, the factual bases of Defendants’ misconduct are

24   common to all members of the Class and represent a common thread of misconduct resulting in

25   injury to all members of the Class.

26          97.      Existence and Predominance of Common Questions of Law and Fact. Common

27   questions of law and fact exist as to all members of the Classes and predominate over any

28
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 1   questions affecting only individual members of the Class.           These common legal and factual

 2   questions include, but are not limited to, the following:

 3                 a. Whether PAL failed to refund purchasers of cancelled flights and the consequential
 4                    damages resulting therefrom;

 5                 b. Whether Philippine Airlines violated the terms of its Contract of Carriage;

 6                 c. Whether Plaintiff and the Classes are entitled to damages, restitution, equitable,
                      injunctive, compulsory, or other relief.
 7
             98.      Adequacy of Representation.        Plaintiff will fairly and adequately protect the
 8
     interests of the Class. Plaintiff has retained counsel who are highly experienced in complex
 9
     consumer class action litigation, and Plaintiff intends to vigorously prosecute this action on behalf
10
     of the Class. Plaintiff has no interests that are adverse to those of the Class.
11
             99.       Superiority. The class mechanism is superior to other available means for the fair
12
     and efficient adjudication of the claims of Class Members. Each individual Class Member may
13
     lack the resources to undergo the burden and expense of individual prosecution of the complex and
14
     extensive litigation necessary to establish PAL’s liability. Individualized litigation increases the
15
     delay and expense to all parties and multiplies the burden on the judicial system presented by the
16
     complex legal and factual issues of this case. Individualized litigation also presents a potential for
17
     inconsistent and contradictory judgments. In contrast, the class action device presents far fewer
18
     management difficulties and provides the benefits of single adjudication, economy of scale, and
19
     comprehensive supervision by a single court on the issue of PAL’s liability. Class treatment of the
20
     liability issues will ensure that all claims and claimants are before this Court for consistent
21
     adjudication of issues related to liability.
22                                                 COUNT I
23                                             Breach of Contract
             100.     Plaintiff reincorporates and realleges each preceding paragraph herein.
24
             101.     Plaintiff brings this claim on behalf of herself and members of the Class.
25
             102.     Defendants entered into contracts with Plaintiff and members of the Class through
26
     its Contract of Carriage.
27
             103.     PAL’s Contract of Carriage provides for refunds in the event of involuntary
28
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 1   cancellations, such as those arising from the coronavirus pandemic: “[i]f PAL cancels a flight, or

 2   fails to operate a flight reasonably according to schedule, or fails to stop at a point to which you

 3   were destined or ticketed to Stopover, or is unable to provide previously confirmed space, the

 4   amount of the refund shall be subject to these Conditions of Carriage”

 5            104.   PAL’s Contract of Carriage also provides for refunds arising from voluntary

 6   cancellations: “[i]f you are entitled to a refund of your Ticket or any of its unused portion,

 7   including taxes, fees, or any other amount collected for or on behalf of any third party, for reasons

 8   other than those set out in Section 3 of this Article, the amount of the refund shall be in accordance

 9   with PAL’s Tariffs.”

10            105.   Plaintiff and members of the Class performed their portion of the bargain by paying

11   the airline ticket fees for the flight before they were cancelled.

12            106.   For the reasons set forth above, PAL frustrated any condition precedent to Plaintiff

13   and Class Members receiving a refund because PAL left Plaintiff on hold for extended periods of

14   time and failed to respond to emails sent inquiring about the status of Plaintiff’s refund.

15            107.   PAL has breached these contracts by retaining Plaintiff’s and Class members’

16   airline ticket fees while not providing flight services, in violation if its Contract of Carriage.

17            108.   Plaintiff and Class members have suffered an injury through the payment of money

18   for tickets while not receiving services in return.

19            109.   Plaintiff and Class members have also suffered injury through PAL’s unreasonable

20   delay in issuing refunds, thus depriving Plaintiff and Class members the time value of their money.

21   Essentially, PAL has unjust gained an interest-free loan through dilatory tactics and refusal to

22   honor its refund policy.

23            110.   PAL has also frustrated its passengers’ ability to request refunds, as demonstrated

24   above.

25            111.   Plaintiff and Class members are entitled to damages for PAL’s breach of its

26   Contract of Carriage, or in the alternative, to rescission of the Contract of Carriage.

27

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 1                                               COUNT II
                                              Unjust Enrichment
 2
              112.   Plaintiff reincorporates and realleges each preceding paragraph herein. This claim
 3
     is brought in the alternative to the contract-based cause of action.
 4
              113.   Plaintiff brings this claim on behalf of herself and members of the Class.
 5
              114.   Plaintiff and the Class conferred benefits on Defendants by purchasing airline
 6
     tickets with PAL.
 7
              115.   Defendants have been unjustly enriched in retaining the revenues derived from
 8
     Plaintiff and Class Members’ purchase of airline tickets, where it has subsequently canceled or
 9
     significantly changed the schedule for Class Members’ flights and have not issued a refund.
10
     Retention of those moneys under these circumstances is unjust and inequitable because
11
     Defendants’ failure to issue refunds is in violation of its Contract of Carriage, and is in violation of
12
     California law. These acts and omissions caused injuries to Plaintiff and the Class because they
13
     would not have purchased their airline tickets at all, or on the same terms, if the true facts were
14
     known.
15
              116.   Because Defendants’ retention of the non-gratuitous benefits conferred on them by
16
     Plaintiff and the Class is unjust and inequitable, Defendants must pay restitution to Plaintiff and the
17
     Class for its unjust enrichment, as ordered by the Court.
18
                                                  COUNT III
19
                                                    Fraud
20            117.   Plaintiff reincorporates and realleges each preceding paragraph herein.
21            118.   Plaintiff brings this claim on behalf of herself and members of the Class.
22            119.   As discussed above, Defendants provided Plaintiff and Class members with false or
23   misleading material information and failed to disclose material facts about how it processes
24   refunds, contrary to the representations found in the Contract of Carriage.                      These
25   misrepresentations and omissions were made by Defendants with knowledge of their falsehood.
26

27

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 1           120.     The misrepresentations and omissions made by Defendants, upon which Plaintiff

 2   and Class members reasonably and justifiably relied, were intended to induce and actually induced

 3   Plaintiff and Class members to purchase their airline tickets.

 4           121.     The fraudulent actions of Defendants caused damage to Plaintiff and the members

 5   of the Class, who are entitled to damages and other legal and equitable relief as a result.

 6                                             PRAYER FOR RELIEF

 7           WHEREFORE, Plaintiff respectfully requests, individually and on behalf of the alleged

 8   Class, that the Court enter judgment in their favor and against PAL as follows:

 9           a) An Order certifying the proposed Class and appointing Plaintiff and her Counsel to

10                represent the Class;

11           b) An Order requiring PAL to immediately issue refunds to Plaintiff and Class members

12                for the cost of the cancelled tickets, any cancellation fees, and consequential damages

13                resulting therefrom;

14           c) An Order of disgorgement of wrongfully obtained profits;

15           d) An award of compensatory damages, in an amount to be determined;

16           e) An award of reasonable attorney’s fees, cost and litigation expenses, as allowable by

17                law;

18           f) Interest on all amounts awarded, as allowed by law; and

19           g) Such other and further relief as this Court may deem just and proper.

20                                          JURY TRIAL DEMANDED

21           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any and

22   all issues in this action so triable as of right.

23

24

25   Dated: July 22, 2021                                Respectfully submitted,

26                                                       BURSOR & FISHER, P.A.
27                                                       By:       /s/ Neal J. Deckant
                                                                       Neal J. Deckant
28
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                                                   EXHIBIT A
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   ARTICLE 1 - DEFINITIONS

   “PAL” means Philippine Airlines, Inc.

   “YOU,” “YOUR,” and “YOURSELF” means any person, except members of the crew, carried or to be carried in an
   aircraft pursuant to a Ticket. (See also deﬁnition of Passenger)

   "AGREED STOPPING PLACES" means those places, except the place of departure and the place of destination, set
   forth in the Ticket or shown in PAL’s timetables as scheduled stopping places on your route.

   “AIRLINE DESIGNATOR CODE” means two or three characters or letters which identify a particular air carrier.

   “AUTHORIZED AGENT” a passenger sales agent who has been appointed by PAL to represent it in the sale of air
   passengers’ transportation services of PAL.

   "BAGGAGE" means your personal property accompanying you in connection with your travel. Unless otherwise
   speciﬁed, it includes both your Checked and Unchecked Baggage.

   "BAGGAGE TAG" means a document issued by PAL solely for identiﬁcation of Checked Baggage.

   "CHECKED BAGGAGE" means your Baggage which PAL takes custody of and for which PAL has issued a Baggage
   Tag.

   “CHECK-IN DEADLINE” means the time limit speciﬁed by PAL within which you must have completed check-in
   formalities and received your boarding pass.

   “CONNECTING FLIGHT” means a subsequent ﬂight providing onward travel on the same Ticket, on a separate
   Ticket or on a Conjunction Ticket.

   "CONJUNCTION TICKET" means a Ticket issued to you in conjunction with another Ticket, both of which constitute
   a single contract of carriage.

   “CONVENTION” means whichever of the following instruments is or are applicable:



           the Convention for the Uniﬁcation of Certain Rules for International Carriage by Air, signed at Montreal, 28
           May 1999 (referred to as the Montreal Convention;

           The Convention for the Uniﬁcation of Certain Rules Relating to International Carriage by Air, signed at
           Warsaw, 12 October 1929 (referred to as the Warsaw Convention;

           the Warsaw Convention as amended at The Hague on 28 September 1955.


   "DAYS" means calendar days, including all seven days of the week; provided that, for the purpose of notiﬁcation, the
   day upon which notice is dispatched shall not be counted; and that for purposes of determining duration of validity
   of a Ticket, the day upon which the Ticket is issued, or ﬂight is commenced shall not be counted.



   “DOMESTIC CARRIAGE” means travel between points within the Philippines and there is no transit, transfer or
   Stopover outside the Philippines.
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   "DOMESTIC TICKETS" means Tickets with purely Philippine domestic itinerary.

   “ELECTRONIC COUPON” means an electronic Flight Coupon for an Electronic Ticket held in PAL's database.

   “ELECTRONIC TICKET” means the electronic record of your Ticket made by PAL or its Authorized Agent, which is
   held in PAL’s database.

   “FLIGHT COUPON” means that portion of the Ticket that bears the notation “good for passage,” and indicates the
   particular places between which you are entitled to be carried.

   “INTERNATIONAL CARRIAGE” means any carriage other than Domestic Carriage, however, when the Convention is
   applicable, the stated deﬁnition of “International Carriage” in the Convention shall prevail.

   “ITINERARY RECEIPT” means a document or documents issued by PAL to Passengers travelling on Electronic
   Tickets that contains the Passenger’s name, ﬂight information and notices.

   "PASSENGER" means any person, except members of the crew, carried or to be carried in an aircraft pursuant to a
   Ticket.

   "PASSENGER COUPON" means that portion of the Ticket issued by or on behalf of PAL, which is so marked and
   which ultimately is to be retained by the Passenger.

   "STOPOVER" means a deliberate interruption of the travel by the Passenger at a point between the place of
   departure and the place of destination, which has been agreed to in advance by PAL.

   “TARIFF” means the published fares, fees or charges and related terms, conditions and restrictions ﬁled, where
   required, with the appropriate authorities, and approved as such by the same.

   "TICKET" means the document of carriage issued by PAL.

   "UNCHECKED BAGGAGE" means any Baggage hand-carried by the Passenger and Baggage other than Checked
   Baggage.




   ARTICLE 2 - APPLICABILITY

   Section 1. GENERAL

   Except as provided in Sections 4, 5, and 6 of this Article, these Conditions of Carriage apply to all domestic and
   international carriage of Passengers and Baggage operated by PAL, and in any case where PAL may have a legal
   liability to you in relation to your travel.

   Section 2. GRATUITOUS CARRIAGE

   These Conditions of Carriage also apply to gratuitous or reduced fare carriage except to the extent that PAL has
   otherwise provided in its Tarrifs, or in relevant contracts, passes, tickets, or policies.

   Section 3. CONDITIONS SUBJECT TO CHANGE

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   PAL may change these Conditions of Carriage and PAL’s Tariffs at any time, without prior notice. Your travel shall be
   governed by these Conditions of Carriage and PAL’s Tariffs in force at the date you purchased your Ticket; provided,
   however, that PAL reserves the right to apply the Conditions of Carriage and PAL’s Tariffs in effect on the date of
   your travel where reasonably necessary for operational eﬃciency.

   Section 4. CHARTER OPERATIONS

   If the carriage is performed pursuant to a charter agreement, these Conditions of Carriage apply only to the extent
   that they are incorporated by reference or otherwise, in the terms of the charter agreement and the charter ticket.
   In case of any inconsistency between these Conditions of Carriage and the provisions of said charter agreement
   and/or charter ticket, the latter shall prevail.

   Section 5. CODESHARES AND COMMERCIAL AGREEMENTS

   On some services, PAL may have commercial agreements with other airlines such as code shares and/or licensing
   agreements. This means that, even if you have a reservation with PAL and you hold a Ticket showing PAL’s Airline
   Designator Code, marks or tradename, another airline may operate the ﬂight.

   If such a commercial agreement applies to your ﬂight, PAL or its Authorized Agents will inform you at the time you
   make a reservation if PAL or another carrier will be operating the ﬂight.
   If your ﬂight is operated by another carrier, you may be subject to certain conditions of carriage of the operating
   carrier which may differ from those of PAL’s, such as but not limited to:

       1.   refusal of carriage;
       2.   check-in deadline;
       3.   denied boarding compensation;
       4.   boarding fees;
       5.   baggage acceptance and liability;
        .   ﬂight disruptions;
       7.   advance seating arrangement;
        .   unaccompanied minors;
       9.   carriage of animals;
      10.   stretcher assistance;
      11.   medical oxygen.


   PAL’s                                      website,                               www.philippineairlines.com
   (https://web.archive.org/web/20200918170313/http://www.philippineairlines.com/), contains a list of partner
   carriers of PAL and provides links to each of their conditions of carriage.

   Section 6. OVERRIDING LAW

   These Conditions of Carriage are applicable unless they are inconsistent with PAL’s Tariffs and applicable laws,
   rules, and government regulations in which event such Tariffs, laws, rules, and government regulations shall prevail.
   If any provision of these Conditions of Carriage is invalid, under any applicable law, rules, and government
   regulations, the other provisions shall nevertheless remain valid.

   Section. 7. CONSENT OF PASSENGERS

   Upon your purchase of a Ticket for carriage by air on PAL, you shall be deemed to have acknowledged and given
   consent to these Conditions of Carriage and PAL’s Tariffs.



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   ARTICLE 3 - TICKETS

   Section 1. GENERAL PROVISIONS

            (a) A person shall not be entitled to be carried on a ﬂight unless that person presents and is named in a
            valid Ticket containing all corresponding Flight Coupon or Electronic Coupon duly issued in accordance with
            these Conditions of Carriage and PAL’s Tariffs. PAL may require you to present appropriate identiﬁcation.

             (b) You shall not be entitled to be carried if the Ticket presented is mutilated or if it has been altered by a
            person other than PAL or its Authorized Agent.

             (c) Your Ticket is not transferable. If a Ticket is presented for carriage or for refund by someone other than
            you, PAL shall not be liable to you, if in good faith, it provides carriage or makes a refund to the person
            presenting the Ticket.

             (d) The Ticket is and remains at all times property of PAL.

             (e) Changes to the Ticket you requested will be subject to PAL’s Tariffs and may require payment of a
            change fee.

   Section. 2. PERIOD OF VALIDITY

   Except as otherwise provided in the Ticket, these Conditions of Carriage or PAL's Tariffs, an International Ticket is
   valid for carriage for one (1) year from the date of commencement of travel, or if no portion of the Ticket is used,
   from the date of issuance of the Ticket. A Ticket issued at other than normal fare or under certain restrictions may
   have a different period of validity as provided for in the conditions prescribed in the Ticket or PAL’s Tariffs.



   A Domestic Ticket is valid for one (1) year from the date of its issuance.

   Section 3. EXTENSION OF VALIDITY

            (a) PAL may extend the validity of your Ticket in accordance with applicable laws, rules, and government
            regulations.

            (b) If you are unable to commence or continue your travel within the period of validity of the Ticket by
            reason of illness, PAL may extend the period of validity of your Ticket until PAL's ﬁrst ﬂight after the date
            when you become ﬁt to travel according to a medical certiﬁcate, from the point where the travel is resumed
            on which space is available in the class of service for which the fare has been paid. Provided, however that,
            when the ﬂight segments remaining in the Ticket involve one or more Stopovers, the validity of such Ticket,
            subject to PAL's Tariffs, will be extended for three (3) months from the date shown on the medical
            certiﬁcate.

            (c) In the event of death of the Passenger or his/her immediate family member, PAL may likewise extend
            the validity of their Tickets. Any such change on the Ticket shall be made upon receipt of a proper death
            certiﬁcate and any such extension of Ticket validity shall not be for a period longer than forty-ﬁve (45) days
            from the date of the death.

   Section 4. COUPON SEQUENCE

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            (a) The Ticket you purchased is valid only for the transportation as shown on the Ticket, from the place of
            departure via any Agreed Stopping Places to the ﬁnal destination. Electronic and Flight Coupons shall be
            honored only in sequence. The Ticket will not be honored and will lose its validity if all the coupons are not
            used in sequence provided in the Ticket.

            (b) Each Electronic or Flight Coupon will be accepted for carriage in the class of service speciﬁed on the
            Ticket on the date and ﬂight for which space has been reserved. When a Ticket is originally issued without
            a reservation being speciﬁed, space may be later reserved subject to PAL’s Tariffs, and the availability of
            space on the ﬂight requested.

            (c) If you fail or have failed to use the Electronic or Flight Coupons in sequence, PAL is entitled to recompute
            the fares in accordance with PAL's Tariffs and you are liable to pay PAL any fare difference applicable.




   ARTICLE 4 - FARES AND CHARGES

   Section 1. FARES

             (a) Fares apply only for carriage from the airport at the point of origin to the airport at the point of
            destination.

             (b) Your fares are calculated in accordance with PAL's Tariffs. Fares to be paid may change in cases of
            changes in your itinerary or dates of travel.

             (c) Where you voluntarily change the schedule of your ﬂight as reﬂected in the Ticket, and there is a
            difference between the fare paid and the available fare in the new schedule. You shall pay the applicable
            fare difference in accordance with PAL’s Tariffs.

             (d) Fares do not include ground transport service between airports and between airports and town
            terminals, unless provided by PAL without additional charge.

   Section 2. TAXES, FEES AND CHARGES

   Applicable taxes, fees or charges imposed by government authority, or other oﬃces such as airport operators, must
   be paid by you in full before carriage, except as otherwise provided in PAL's Tariffs. The taxes, fees and charges
   imposed on air travel are beyond PAL’s control and are constantly changing. Taxes, fees and charges may be
   imposed or increased even after the date of Ticket issuance. PAL reserves the right to refuse carriage if the
   applicable taxes, fees and charges are not paid.

   Section 3. CURRENCY

   Fares, taxes, fees and charges are payable in the currency in which the fare is published. PAL may, at its discretion,
   accept payment in another currency subject to applicable rate of exchange.




   ARTICLE 5 - RESERVATIONS

   Section 1. RESERVATION REQUIREMENTS
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           (a) A reservation is not conﬁrmed until:

                 1. It is entered on the appropriate Flight or Electronic Coupon, by PAL or its Authorized Agent;

                2. You have paid for your Ticket; and

                3. A Ticket has been duly issued to you, or in the case of an Electronic Ticket, when it has been duly
            created in PAL’s database.

                  A reservation that does not comply with any of these requirements may be cancelled by PAL at any
            time without notice.

            (b) As provided in PAL's Tariffs, certain fares may be subject to conditions which limit or exclude your
            prerogative to change or cancel reservations.



   Section 2. TICKETING AND TIME LIMIT

   If you have not paid or made credit arrangements for the Ticket with PAL prior to the speciﬁed ticketing time limit as
   advised by PAL or its Authorized Agent, PAL will cancel your reservation without prior notice.

   Section 3. PERSONAL DATA

   You recognize that your personal data have been given to PAL for the purposes of: making a reservation, purchasing
   a Ticket, for obtaining ancillary services, facilitating immigration and entry requirements, complying with regulatory
   requirements of government authority and making available such data in connection with your travel. For these
   purposes, you agree and authorize PAL to retain and process or use such data and to transmit them to its own
   oﬃces, Authorized Agents, government authorities, other carriers or the providers of the above-mentioned services.
   In booking your travel, you provide PAL your consent to be added to PAL’s email list that will be used to contact you
   occasionally with commercial electronic messages such as offers and promotions that PAL feels will be of interest
   to you.

   Section 4. SEATING

   PAL will endeavor to honor your advance seating requests. However, PAL does not guarantee to provide any
   particular seat in the aircraft and you agree to accept any seat that may be allotted on the ﬂight in the class of
   service for which your Ticket has been issued.

   PAL reserves the right to assign or re-assign seats at any time, even after boarding of the aircraft. This may be
   necessary to comply with laws, rules, and government regulations, or for operational, safety, or security reasons.
   PAL reserves the right to charge for more than one seat in cases where the physical condition of the Passenger
   require additional seat.



   Section 5. RECONFIRMATION OF RESERVATIONS

   Your reservation may be subject to the requirement that it be reconﬁrmed not later than seventy-two (72) hours
   before ﬂight departure. Your reservation with other carriers involved in your travel must be reconﬁrmed with the
   carrier whose Airline Designator Code appears on the Ticket, and in accordance with their respective reconﬁrmation
   requirements.

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   Section 6. CANCELLATION OF RESERVATIONS

   If you do not use a reservation and fail to advise PAL, your reservation, including onward or return reservations, may
   be cancelled without prior notice.



   ARTICLE 6 - CHECK-IN AND BOARDING


       (a)     Check-in Deadlines and boarding requirements are different in every airport and you must be aware of
             these deadlines and requirements prior to your travel. You must arrive at PAL's check-in location and
             assigned boarding gate suﬃciently in advance of ﬂight departure to permit completion of all departure
             procedures, including government formalities, and in any event not later than the time that may be indicated
             by PAL.

             PAL may cancel the space reserved for you if you fail to arrive on time at PAL's check-in location or if you fail
             to arrive at the assigned boarding gate within reasonable time prior to the closing of gates in preparation for
             departure. PAL will not delay departure of the ﬂight by reason of such failure.

       (b) Persons with disability or Passengers requesting for special assistance may be required to check-in earlier
           than the regular check-in time.

       (c) PAL will not be liable to you for any loss or expense incurred due to your failure to comply with the required
           Check-In Deadlines or boarding requirements.




   ARTICLE 7 - REFUSAL AND LIMITATION OF CARRIAGE


   Section 1. RIGHT TO REFUSE CARRIAGE

   PAL will not refuse carriage to any person based solely on race, sex, color, nationality or religion. Further, as a
   matter of policy, PAL will not refuse carriage to any person based solely on disability subject to exceptions that may
   be allowed by applicable laws, rules, and government regulations.

   PAL may refuse to carry you or your Baggage, or may remove you from the aircraft at any time, for any of the
   following reasons:

   (a) You fail or refuse to comply with these Conditions of Carriage;

   (b) (i) The applicable fare or any charges or taxes payable have not been paid, or credit arrangements with PAL have
   not been complied with; (ii) the payment is done through fraudulent means; (iii) when the credit card used for
   payment could not be authenticated upon booking or is subsequently reported to be lost or stolen; or (iv) when the
   credit card used for payment is not presented for validation, if so required by PAL;

   (c) The refusal to transport or removal from PAL’s aircraft is necessary to comply with any applicable laws, rules,
   and government regulations of any country to be ﬂown from, to or over;



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   (d) Such action is necessary or advisable by reason of weather or other conditions beyond PAL’s control including,
   but not limited to: acts of God, force majeure, strikes, civil commotions, embargoes, wars, hostilities, terrorist
   activities, or disturbances, whether actual, threatened, or reported;

   (e) (i) You appear to be improperly documented; (ii) you cannot prove, when so required that, you are the person
   named in the Ticket; (iii) the Ticket has been acquired or reported to have been acquired unlawfully or has been
   purchased or reported to have been purchased from an entity other than PAL or its Authorized Agent; (iv) your
   Ticket is acquired illegally, (v) if you’re Ticket is a counterfeit Ticket or has been altered, torn, damaged or tampered
   with; (vi) when the immigration authority of the country you are traveling to, or of a country in which you have a
   Stopover, informed PAL (either verbally or in writing) that it has decided not to allow you to enter that country, even
   if you have, or appear to have, valid travel documents; (vii) when you destroy your travel documents during the ﬂight;
   (viii) when you have refused to allow PAL to photocopy your travel documents; (ix) when you have refused to give
   your travel documents to a member of the crew of the aircraft, when PAL asked you to do so;

   (f) You are a person in the custody of law, unless you are suﬃciently escorted;

   (g) Such refusal or removal is reasonably necessary for the security, safety or comfort of other Passengers or PAL’s
   employees; or to prevent damage to the property of PAL or of its Passengers or crew or employees, including, but
   not limited to the following instances:

       1. When you assault, intimidate or threaten, whether physical or verbal, any of PAL’s ground staff, crew members
          or other Passengers;When you assault, intimidate or threaten, whether physical or verbal, any of PAL’s ground
          staff, crew members or other Passengers;
       2. When you create a disturbance which interferes with the duties of the ground staff, ﬂight crew or when the
          disturbance necessitates the pilot-in-command or any member of the cockpit crew to leave the cockpit to
          attend to the same;
       3. When you refuse to follow a lawful instruction given by the pilot-in-command, or on behalf of the pilot-in-
          command, or by a crew member for the purpose of ensuring the safety of the aircraft or of any person or
          property on board or for the purpose of maintaining good order and discipline on board;
       4. When you commit an act of physical violence, sexual assault, or child molestation, against other persons;
       5. When your conduct results or may result to a risk of harm or damage to the aircraft, or properties belonging
          to PAL, its Passengers, or employees;
        . When you refuse to submit to a security check;
       7. When you refuse to follow PAL’s policy on smoking and use of alcoholic beverages and drugs;
        . When you tamper with the smoke detector or any other safety-related device on board the aircraft;
       9. When you fail to comply with safety regulations, including fastening seatbelts when required;
      10. When you use portable electronic device when such is prohibited;
      11. When you are not properly clothed;
      12. When you have a contagious disease which may be transmitted to others during the ﬁght;
      13. When the Passenger who may have been required to present medical clearance in accordance with
          applicable laws, rules, and government regulations, failed to submit said medical certiﬁcate and where it
          appears that he/she cannot complete the ﬂight without requiring medical assistance;
      14. When your conduct is disorderly, abusive, offensive or violent;
      15. When your conduct results or may result to a risk of annoyance, offense or disturbance to other Passengers;
      1 . When you have made a hoax bomb or other security threat;


   Section 2. CONSEQUENCES OF REFUSAL OF CARRIAGE AND REMOVAL OF PASSENGER

   If you commit any of the acts enumerated under Section 1(g) of this Article, and conduct yourself aboard the
   aircraft so as to endanger the aircraft or any person or property on board, PAL may take such measures reasonably
   necessary to prevent continuation of your conduct, including restraint. You may be disembarked and refused
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   onward carriage at any point.

   If, for the reasons enumerated under Section 1 of this Article, PAL has refused to carry you, or removed you en
   route, PAL may cancel the remaining unused portion of your Ticket and you will not be entitled to further carriage or
   to a refund either in respect of the sector subject of the refusal of carriage or removal, or any subsequent sectors
   covered by the Ticket. PAL reserves the right to prosecute offences committed. PAL will not be liable for any
   consequential loss or damage alleged due to any such refusal to carry or removal en route.

   Section 3. GENERAL INDEMNITY

   If you conduct yourself in a manner described in Section 1 of this Article, you will indemnify PAL for all claims or
   losses, including, but not limited to, all costs arising from the diversion of the aircraft for the purpose of oﬄoading
   you and all losses suffered or incurred by PAL, its Authorized Agents, employees, independent contractors,
   Passengers, and any third party in respect of death, injury, loss, damage or delay to other persons or to property,
   arising from such conduct.



   Section 4. OTHER LIMITATIONS ON CARRIAGE

            (a) Acceptance for carriage of unaccompanied children, persons with disability, pregnant women or ailing
            persons may be subject to prior arrangements with PAL, in accordance with these Conditions of Carriage
            and any applicable laws, rules and government regulations.



             (b) Acceptance for carriage of persons requiring special assistance such as but not limited to medical
            oxygen for use on-board the aircraft, packaging of wheelchair and wheelchair batteries, stretchers and other
            similar assistance, may be subject to advance notice and prior arrangements with PAL, in accordance with
            these Conditions of Carriage, PAL’s Tariffs and any applicable laws, rules, and government regulations.



            (c) If PAL believes that the aircraft weight limitation or seating capacity would otherwise be exceeded, PAL
            will decide in its reasonable discretion which persons or articles shall be carried.

   Section 5. MEDICAL CLEARANCE REQUIRED

   Subject to applicable laws, rules, and government regulations, PAL may require a medical clearance when, in good
   faith and using its reasonable discretion, PAL determines there is reasonable doubt that a Passenger can complete
   the ﬂight safely without requiring extraordinary medical assistance.



   Section 6. BANNING NOTICE

   In addition to its right to refuse carriage under any of the grounds in Section 1 of this Article, PAL reserves the right
   to ban any person from all its ﬂights and from availing of any of its services for the following reasons:

            (a) Such person is a serious or habitual offender under any of the instances enumerated in Section 1;

           (b) When records support that you habitually and in bad faith, ﬁled unwarranted complaints against PAL and
   its employees.

   Section 7. ATTENDANT’S REQUIRED

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   For reasons of safety, Passengers in the following categories may be required to travel with a safety assistant:

            (a) A Passenger with a mobility impairment so severe that the individual is unable to assist in his/her own
            evacuation:

           (b) A Passenger with severe hearing and severe vision impairment who is unable to establish some means of
            communications with PAL’s personnel adequate to permit the Passenger to receive PAL's safety brieﬁng as
            may be required by the applicable law, rules, and government regulations;

           (c) A Passenger who is traveling on a stretcher or in an incubator or who requires administration of certain
            medical services during the ﬂight (e.g. medical oxygen, respirator, intravenous injections, etc.) which he/she
            cannot administer on himself/herself;

            (d) A Passenger who because of a mental disability, is unable to comprehend or respond appropriately to
            safety instructions from PAL’s personnel, including safety brieﬁng required by applicable laws, rules, and
            government regulations.



   ARTICLE 8 - BAGGAGE

   Section 1. FREE BAGGAGE ALLOWANCE

   You may carry some Baggage, free of charge, subject to the conditions and limitations of these Conditions of
   Carriage and PAL's Tariffs. PAL also reserves the right to change its free baggage allowance.

   Section 2. EXCESS BAGGAGE

   You will be required to pay a charge for the carriage of Baggage in excess of the free baggage allowance at the rate
   and in the manner provided in these Conditions of Carriage or PAL's Tariffs. Baggage in excess of the free baggage
   allowance will be carried only at PAL’s discretion, subject to space availability and weight limitation. Excess
   baggage includes oversized and overweight baggage.

   Section 3. ITEMS NOT ACCEPTABLE AS BAGGAGE

       (a) You shall not include in your Baggage:

       1. items which do not constitute Baggage as deﬁned in Article 1 and as stated below;
       2. items which are likely to endanger the aircraft or persons or property on board the aircraft, such as those
          speciﬁed in the Dangerous Goods Regulations of the International Civil Aviation Organization (ICAO) and the
          International Air Transport Association (IATA), these Conditions of Carriage and PAL’s Tariffs;
       3. items which are prohibited for carriage by any applicable laws, rules, and government regulations;
       4. live animals, except as provided in Section 11 of this Article.
       5. Items, which in the opinion of PAL, are unsuitable for carriage because they are dangerous, unsafe or by
          reason of their weight, size, shape or character, or because they are fragile or perishable.


       (b) Firearms and ammunitions may be accepted as Checked Baggage provided that they are covered by proper
           authorization, permits, and licenses from the appropriate government authority. Firearms must be unloaded,
           have the safety catch on, and must be suitably wrapped and packaged, and PAL may require them to be

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             delivered to and remain in its custody until your arrival at the airport of destination. Carriage of ﬁrearms and
             ammunitions is subject to ICAO and IATA Dangerous Goods Regulations and any applicable laws, rules, and
             government regulations.

       (c)    PAL may implement restrictions on the carriage of liquids, aerosols and gels in compliance with guidelines
             set by the ICAO, IATA and any applicable laws, rules, and government regulations.

       (d)    You shall not include in your Checked Baggage, artwork, cameras, money, jewelry, precious metals,
             silverware, computers, diving computers, personal electronic devices, negotiable papers, securities or other
             valuables, business documents, passports and other identiﬁcation documents or samples, unless otherwise
             permitted by PAL in accordance with these Conditions of Carriage.

       (e) Weapons such as swords, knives and similar items may be accepted as Checked Baggage in accordance
           with these Conditions of Carriage, but will not be permitted in the cabin.

       (f)    If any item referred to in this Article Sub-sections (a), (b) or (c) above is carried, whether or not it is
             prohibited from carriage as Baggage, its carriage shall be subject to the charges, limitations of liability and
             other provisions of these Conditions of Carriage.

   Section 4. CHECKED BAGGAGE

       (a) Upon delivery to PAL of your Baggage to be checked, PAL shall take custody thereof and issue a Baggage
           Tag.

       (b) If the Baggage has no name, initials or other personal identiﬁcation, you shall aﬃx such identiﬁcation to the
           Baggage prior to acceptance by PAL.

       (c) Checked Baggage will be carried on the same ﬂight as you, subject to considerations of safety, security, or
           any other legal and valid cause, in which case, PAL will carry the Checked Baggage on PAL's next ﬂight on
           which space is available.

       (d) PAL reserves the right to restrict the weight, size and character of Baggage according to capacity and
           accommodation of the particular aircraft.

       (e) You must ensure that the Checked Baggage is suﬃciently robust and well secured to withstand the usual
           and normal rigors of carriage by air without sustaining damage except for ordinary wear and tear.

   Section 5. UNCHECKED BAGGAGE

       (a) PAL may specify maximum dimensions and/or weight for Baggage which you carry in the aircraft. If PAL
           has not done so, Baggage which you carry into the aircraft must ﬁt under the seat in front of you or in an
           enclosed storage compartment in the cabin. Items determined by PAL to be of excessive weight or size will
           not be permitted in the cabin and if suitable shall be transported as Checked Baggage.

       (b) Objects not suitable, in the opinion of PAL, for transport in the cargo compartment, such as but not limited
           to delicate musical instruments and the like, will only be accepted for transportation in the cabin
           compartment if due notice has been given in advance and permission granted by PAL. The transport of
           such objects may be subject to separate charges.

       (c) PAL shall not be responsible for loss or damage of Unchecked Baggage not attributable to PAL.


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       (d) PAL may allow you to carry electronic devices on board, however, for security and safety reasons, and in
           accordance laws, rules, and government regulations of countries to be ﬂown from, to, or over, PAL may limit
           the use aboard the aircraft of transmitting portable devices, including, but not limited to, cellular phones,
           laptop computers, E-book readers, personal gaming consoles, and two-way radios.



   Section 6. RIGHT TO REFUSE CARRIAGE OF BAGGAGE

       (a) PAL may refuse to carry as Baggage the items described in Section 3 of this Article and may refuse further
           carriage of any such items upon discovery.

       (b) PAL may refuse to carry as Baggage any item, reasonably considered by PAL to be unsuitable for carriage
           by reason of its size, shape, weight, content, or character; or for safety or operational reasons; or for the
           comfort of other Passengers. PAL may refuse to accept Baggage as Checked Baggage unless it is properly
           packed in suitcases or other similar containers to ensure safe carriage with ordinary care in handling.

       (c)     PAL may refuse to carry as Baggage any item, due to security, safety or operational reasons, including
             Baggage which does not belong to you or which you have pooled with your Baggage. PAL will not be liable
             for such Baggage and PAL reserves the right to seek indemnity from you in respect of claims or losses
             incurred as a result of damage caused to it.

       (d) Subject to laws, rules, or government regulations, PAL shall carry passenger wheelchairs or other disability-
           assistive devices, unless such carriage would be inconsistent with safety requirements.

       (e) PAL shall not check through Baggage for other carriers with whom it does not have an interline agreement
           with. You are responsible for clearing your Baggage and having it checked-in and re-tagged for your onward
           ﬂight. In such circumstances, PAL shall not be liable for any loss, damage or delay.

   Section. 7. RIGHT OF SEARCH

   For safety and security reasons, PAL may conduct a search on your person and your Baggage, for the purpose of
   determining whether you are in possession of, or whether your Baggage contains any item described in Section 3,
   or any ﬁrearms, ammunitions, or weapons are not presented to PAL in accordance with Section 3 of this Article. If
   you are unwilling to comply with such request, PAL may refuse to carry you and/or your Baggage. In the event a
   search or scan causes damage to your Baggage, PAL shall not be liable for such damage unless due to its fault or
   negligence.

   The right of search of PAL does not impose an obligation on PAL, nor does it constitute an agreement, either
   express or implied, by PAL to allow carriage of items which would otherwise be precluded from carriage under
   Sections 1 and 2 of this Article.

   Section 8. EXCESS VALUE DECLARATION AND CHARGES

       (a) You may declare a value for Checked Baggage in excess of the applicable limits of liability. If you make
           such a declaration, you shall pay the applicable charges in accordance with PAL’s Tariffs. PAL shall have the
           option to inspect the Checked Baggage to ascertain veracity of the declared value.

       (b) PAL will refuse to accept an excess value declaration on Checked Baggage when a portion of the carriage is
           to be provided by another carrier which does not offer the facility.



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       (c) Except as otherwise provided in PAL's Tariffs, excess value charges shall apply for the entire travel and shall
           be payable at the point of origin, provided that if at a Stopover en route, you declare a higher excess value
           than that originally declared, additional excess value charges for the increased declared value from such
           Stopover to ﬁnal destination shall be payable.

   Section 9. COLLECTION AND DELIVERY OF BAGGAGE

       (a) You are required to collect your Baggage as soon as it is available for collection at places of destination or
           Stopover. Should you not collect it within a reasonable time, PAL may charge you a storage fee.

       (b) Only the bearer of the Baggage Tag is entitled to delivery of Baggage.

       (c) If a person claiming the Baggage is unable to produce the Baggage Tag and identify the Baggage by any
           other means, PAL will deliver the Baggage to such person only on the condition that he or she establishes to
           PAL's satisfaction his or her right to the same. PAL also reserves the right to require such person to furnish
           adequate security to indemnify PAL for any possible loss, damage or expense which may be incurred by
           PAL as a result of such delivery.

       (d) Acceptance of Baggage by the bearer of the Baggage Tag without written complaint at the time of delivery
           is proof that the Baggage has been delivered in good condition and in accordance with these Conditions of
           Carriage.

   Section 10. UNCLAIMED BAGGAGE

   Any Baggage which is unclaimed after being in PAL's possession for thirty (30) days shall be disposed of by PAL in
   any manner it deems proper.

   Section 11. ANIMALS

       (a) Carriage of animals by PAL shall be subject to the following conditions:



       (a) You must ensure that animals, such as dogs, cats, household birds and other pets, are properly crated and
           accompanied by valid health and vaccination certiﬁcates, entry permits, and other documents required by
           countries of entry or transit, failing which, they will not be accepted for carriage. Animals may be accepted
           for carriage as Checked Baggage, subject to PAL's Tariffs.

       (b) If accepted, the animal, together with its container and food carried, shall not be included in your free
           baggage allowance, and will constitute excess baggage, for which you will be required to pay the applicable
           excess baggage rate. Animals shall not be carried in the Passenger cabin.

            However, PAL may issue policies to allow service animals, such as guide dogs, accompanying Passengers
            with disability, consistent with applicable laws, rules, and government regulations. Provided that, containers
            and food of such animal shall be considered as Checked Baggage and will be carried subject to PAL's
            Tariffs.

       (c) You shall assume full responsibility for the animal carried: (i) Where carriage is not subject to the liability
           rules of the Convention, PAL shall not be liable for any injury to or loss, sickness or death of such animal. (ii)
           PAL shall have no liability in respect of any such animal not having all the necessary exit, entry, health and



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            other documents with respect to the animal’s entry into or passage through any country. The person
            transporting the animal must reimburse PAL for any ﬁne, costs, losses or liabilities reasonably imposed or
            incurred by PAL as a result.

       (d) PAL shall have no liability to you if you are unable to travel as a result of the refusal of carriage to any
           animal that you attempt to carry on the aircraft.



   Section 12. PLANTS

   Plants, ﬂowers, fruits, cuttings or other plant products may be carried subject to these Conditions of Carriage and
   PAL's Tariffs, and any applicable laws, rules, and government regulations of any country to be ﬂown from, to or over.

   Section 13. ITEMS REMOVED BY AIRPORT SECURITY PERSONNEL

   PAL will not be responsible for, nor have any liability in respect of items removed from you or your Baggage by
   government authority or airport security personnel.




   ARTICLE 9 - SCHEDULES, CANCELLATION OF FLIGHTS

   Section 1. SCHEDULES

   The ﬂight times shown in timetables may change between the date of publication and the date you actually travel,
   as shown in the Ticket. PAL does not guarantee these schedules and they do not form part of your Conditions of
   Carriage.

   Section 2. CANCELLATION, CHANGES OF SCHEDULE, ETC.

       (a) Subject to applicable laws, rules, or government regulations, PAL may, when circumstances so require,
           cancel, terminate, divert, postpone, delay any ﬂight, alter or omit stopping places shown on the Ticket or in
           schedules and may without notice substitute alternate carriers or aircraft and PAL assumes no liability for
           making connections.

       (b) If due to circumstances beyond its control, PAL cancels or delays a ﬂight, is unable to provide previously
           conﬁrmed space, fails to stop at a Stopover or point of destination, or causes you to miss a connecting
           ﬂight on which you hold a conﬁrmed reservation, PAL shall not be liable for losses or damages including any
           indirect, special or consequential loss, expense or damage.


   ARTICLE 10 - REFUNDS

   Section 1. GENERAL

   Refund of a Ticket or any of its unused portion, including taxes, fees, or any other amount collected for or on behalf
   of any third party, shall be subject to these Conditions of Carriage and PAL’s Tariffs.



   Section 2. WHEN TO FILE FOR REFUND AND TO WHOM REFUND WILL BE MADE
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            (a) Refund of a Ticket or any of its unused portion, including taxes, fees, and or any other amount collected
            for or on behalf of any third party, shall be applied with PAL within the period of the validity of the Ticket and
            thirty (30) days thereafter.

             (b) Except as provided in this Article, refund shall be made either to the Passenger, or to the person who
            has paid for the Ticket upon presentation of satisfactory proof of entitlement to the refund.

             (c) If a Ticket has been paid for by a person other than the Passenger, and PAL, upon instruction of such
            person, has so indicated on the Ticket that there is a restriction on refund, PAL shall make a refund only to
            that person paying for the Ticket or to that person's order.

             (d) A refund made to anyone holding himself or herself out as a person to whom refund may be made in
            terms of (a) above shall be deemed a proper refund and shall discharge PAL from liability and any further
            claim for refund.

            (e) Refund due to Tickets, including taxes, fees, or any other amount collected for or on behalf of any third
            party, paid for with credit cards will only be charged back to the credit card accounts originally used for the
            Ticket purchase. The refundable amount to be charged back to the credit card account of the card owner
            may vary from the originally debited amount due to differences in the exchange rate. Such variances do not
            entitle the recipient of the refund to a claim against PAL. PAL shall not be held liable for any damages that
            may result from the ticket cancellation.

            (f) If the credit card used is not under Passenger’s account name, Passenger warrants that the he/she and
            the credit card holder both agreed that: 1) either the Passenger or credit card holder may apply for online
            refund; and 2) the refund will automatically be charged back to the credit card account originally used.



   Section 3. INVOLUNTARY REFUND

   If PAL cancels a ﬂight, or fails to operate a ﬂight reasonably according to schedule, or fails to stop at a point to
   which you are destined or ticketed to Stopover, or is unable to provide previously conﬁrmed space, the amount of
   the refund shall be subject to these Conditions of Carriage, PAL’s Tariffs, and applicable laws, rules, and government
   regulations.

   Section 4. VOLUNTARY REFUNDS



   If you are entitled to a refund of your Ticket or any of its unused portion, including taxes, fees, or any other amount
   collected for or on behalf of any third party, for reasons other than those set out in Section 3 of this Article, the
   amount of the refund shall be in accordance with PAL's Tariffs.



   Section 5. RIGHT TO REFUSE REFUND

       (a) PAL may refuse refund when your application is made thirty (30) days after the expiry of the validity of the
           Ticket.

       (b) PAL may refuse refund on a Ticket, including taxes, fees, or any other amount collected for or on behalf of
           any third party, which has been presented to PAL or other carriers or to government oﬃcials of a country as
           evidence of intention to depart from such country, unless you are able to establish to PAL's satisfaction that

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            you have permission from the government to remain in the country or that you will depart such country by
            another carrier or by another means of transport.

       (c) PAL may refuse refund in the circumstances covered by Article 7, Section 2 of these Conditions of Carriage.

   Section 6. CURRENCY

   All refunds will be subject to applicable laws, rules, and government regulations of the country in which the Ticket
   was originally purchased and of the country in which the refund is being made. Subject to the foregoing provision,
   refunds will normally be made in the currency in which the Ticket was paid but may be made in another currency in
   accordance with PAL's Tariffs.


   ARTICLE 11 - ARRANGEMENTS WITH CARRIER

   Section 1. NO LIABILITY FOR ADDITIONAL SERVICES



   If in the course of concluding the Conditions of Carriage by air, PAL also agrees to make arrangements for the
   provision of additional services such as hotel accommodations, excursion trips and the like, PAL does so only as
   your agent and shall have no liability to you for any loss, damage or expense of any nature whatsoever you incurred
   as a result of or in connection with your use of such arrangements or the denial of its use by any other person,
   company or agency.



   Section 2. STOPOVERS

   Stopovers may be permitted at Agreed Stopping Places only if arranged with PAL in advance, subject to these
   Conditions of Carriage and PAL's Tariffs.


   Section 3. ALTERNATE TRANSPORTATION

   Consistent with Section 1 of Article 9 above, PAL may arrange for comparable air transportation or for other
   transportation which, at the time such arrangement is made, is scheduled to arrive at the place of your next
   Stopover, or place of your destination within the same time or reasonably within the same time frame as the
   scheduled arrival time of the ﬂight where you hold a conﬁrmed reservation.


   ARTICLE 12 - ADMINISTRATIVE FORMALITIES

   Section 1. GENERAL

       (a) You are responsible for obtaining and holding all required travel documents and visas and for complying
           with all applicable laws, rules, and government regulations, and travel requirements of all countries to be
           ﬂown from, to or through which you transit. PAL shall not be liable to you on the following circumstances:

                 1. for any aid or information given by any agent or employee of PAL in connection with obtaining
                 necessary documents or visas or complying with such laws, rules, and government regulations, whether
                 given in writing or otherwise; or

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                 2. for your failure to obtain such documents                 or visas or      to comply with such laws, rules, and
                 government regulations.

   Section 2. TRAVEL DOCUMENTS

       (a) Prior to your travel, you must present all exit, entry, health and other documents required by laws, rules, and
           government regulations of the countries concerned and permit PAL to take and/or retain copies of it.

       (b) PAL reserves the right to require you to present any of these documents at any time during the carriage.
          PAL may also refuse to carry you if you have not complied with applicable laws, rules, and government
          regulations or when PAL has reason to believe that your travel documents are not in order.

   Section 3. PASSENGER RESPONSIBLE FOR FINES, DETENTION COSTS, ETC.

       (a) You are required to pay the applicable fare whenever PAL, on government orders, is required to return you to
           your point of origin or elsewhere, owing to your inadmissibility into a country, whether of transit or of
           destination.

       (b) If PAL is required to pay any ﬁne or penalty or it incurred any expenditure by reason of your failure to comply
            with any applicable laws, rules, and government regulations, and travel requirements of the countries
            concerned or to produce the required documents, you shall, on demand, reimburse to PAL any amount so
            paid and any expenditure so incurred.

       (c) PAL may use for such expenditure any funds paid to PAL for unused carriage, or any of your funds in PAL’s
           possession.

       (d) In addition to the above, PAL reserves the right to hold you liable for any ﬁne and penalty incurred by PAL by
           reason of any fraud or misrepresentation you commit in relation to your travel or immigration documents.

   Section 4. CUSTOMS OR OTHER OFFICIAL INSPECTION

       (a)    If required, you shall attend the inspection of your Baggage, checked or unchecked, by customs or other
             government oﬃcials.

       (b) PAL is not liable to you for any loss or damage you suffered through your failure to comply with this
           requirement.



   Section 5. SECURITY INSPECTION

   You shall submit to any security checks by PAL, government or airport oﬃcials to carry out security screening on
   your person and your Baggage.


   ARTICLE 13 - LIMITATIONS OF LIABILITY

   Section 1. GENERAL PROVISIONS

   These Conditions of Carriage and applicable laws, rules, and government regulations govern PAL’s liability to you.

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   Section 2. LIMITS ON LIABILITY ON INTERNATIONAL CARRIAGE

   Unless otherwise stated in these Conditions of Carriage, International Carriage, as deﬁned in the Convention, is
   subject to the liability rules of the Convention.



   Section 3. LIABILITY FOR DAMAGE

   Where your carriage is not subject to the liability rules of the Convention, our liability provisions are as follows:



       (a) PAL will not be liable to you for any loss or expense incurred due to your failure to comply with any of the
           provisions of this Conditions of Carriage.

       (b) PAL is not liable if it proves that it or any of its agents have taken all necessary measures to avoid the
           damage or that it was impossible for it to take such measure.

       (c) In the carriage of Baggage, PAL is not liable if it proves that the damage was occasioned by negligence in
           the handling of the aircraft or in navigation and that, in all other respects, it has taken all necessary
           measures to avoid the damage.

       (d) PAL assumes no liability for pre-existing damage, and damage as a result of normal wear and tear, such as
           minor cuts, scratches, and broken zippers.

       (e) PAL is liable only for damage occurring on its own line or air services. When PAL issues a Ticket or
           Baggage Tag over the lines or air services of another carrier, PAL does so only as agent for such other
           carrier and assumes no responsibility for the acts or omissions of such other carrier. Nevertheless, with
           respect to Checked Baggage, you shall have a right of action against the ﬁrst or last carrier.

       (f) PAL is not liable for damage to Unchecked Baggage unless such damage is caused by the negligence of
           PAL. If there has been contributory negligence on your part, PAL's liability shall be subject to the applicable
           laws, rules, and government regulation relating to contributory negligence.

       (g) PAL is not liable for damage arising from its compliance with any laws, rules, and government regulations,
           orders or requirements, or from your failure to comply with the same.

       (h) If in accordance with applicable laws, rules, and government regulations, different limits of liability are
           applicable such different limits shall apply. If the weight of the Baggage is not recorded on the Baggage
           Tag, it is presumed that the total weight of the Checked Baggage does not exceed the applicable free
           baggage allowance for the class of service concerned. If in the case of Checked Baggage a higher value is
           declared pursuant to Article 8, Section 7, the liability of PAL shall be limited to such higher declared value.

       (i) PAL's limit of liability shall not exceed the amount of proven damages. PAL shall furthermore not be liable
           for indirect or consequential damages.

       (j) PAL is not liable for injury to you or for damage to your Baggage caused by property contained in your
           Baggage. In the event that your property causes injury to another person or damage to another person's
           property or to PAL’s property, you shall indemnify PAL for all losses and expenses incurred by PAL as its
           result.


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       (k) PAL is not liable for loss or damage to fragile or perishable items, money, jewelry, precious metals,
           silverware, negotiable papers, securities, or other valuables, business documents, passports and other
           identiﬁcation documents or samples. Carriage of the foregoing shall be allowed only under special
           arrangements with PAL.

       (l) PAL is not liable for any consequence resulting solely from your state of health.

       (m) The aggregate amount you may claim from PAL, including from Authorized Agents, employees, or
          representatives shall not exceed the limits of liability as prescribed in these Conditions of Carriage.

       (n) Unless so expressly provided nothing herein contained shall waive any exclusion or limitation of liability of
           PAL under the Convention or applicable laws, rules, and government regulations.

       (o) In the Domestic Carriage of persons, the limit of liability for death or injury of persons attributable solely to
           the act, omission or negligence of PAL and not due to any cause beyond its control, shall be governed by the
           relevant local law or regulation.

       (p) In the Domestic Carriage of Checked Baggage, the limit of liability for loss, damage or delay of the Checked
           Baggage or of any object contained in the Baggage, attributable solely to the act, omission or negligence of
           PAL and not by any cause beyond its control, shall be governed by the relevant local law or regulation.




   ARTICLE 14 - DENIED BOARDING COMPENSATION

   Section 1. DENIED BOARDING

   Subject to the exceptions provided under Section 2 of this Article, PAL shall compensate Passengers holding
   conﬁrmed reservations and who have undergone all the prerequisite formalities for check-in, but were denied
   boarding due solely to unavailability of space, in accordance with applicable laws, rules, and government
   regulations.



   Section 2. EXCEPTIONS OF ELIGIBILITY

   You shall not be eligible for denied boarding compensation if:



       (a) the ﬂight for which you hold conﬁrmed reservations is unable to accommodate you because of: (1)
          government requisition of space; or (2) substitution of equipment of lesser capacity when required by
          operational and/or safety reasons and/or other causes beyond the control of PAL;

       (b) the ﬂight is cancelled due to operational and/or safety reasons, force majeure, weather, strikes, or other
           causes beyond the control of PAL; or

       (c)    PAL arranges for comparable air transportation or for other transportation which, at the time such
             arrangement is made, is scheduled to arrive at the place of your next Stopover, or place of his destination
             not later than three (3) hours from the scheduled arrival time on the ﬂight where he holds a conﬁrmed
             reservation.



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   ARTICLE 15 - MODIFICATION AND WAIVER
   No agent, employee or representative of PAL, by conduct, in writing or otherwise, has authority to alter, modify or
   waive any provision of these Conditions of Carriage and PAL’s Tariffs

   ARTICLE 16 - TOP HEADINGS

   The title of each Article of these Conditions is for convenience only, and is not to be used for interpretation of the
   text.

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